Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 1 of 319 PagelD #:692

@ +8618355115692 Store - Small

 

 

 

X Task Force

Store Home Products =

Home > Store Home

Store Categories

2019 NEW 3D Print T...
~ Mew product.

~ Fish 3D Printing T...

~ Cat 3D Printing T...

~ starwars T shirt

~ Dragon Ball 27 shirt
~ One piece 3D T-shirt
~ skull 3D Printing T...
~ Rick And Morty 3D...
~ Discount is...

| 3D Zipper Hoodie

~ 2019 new zipper.
~ Zipper Hoodie

2019 New Hoodie...

~ New product...

~ Fish 3D Hoodies

~ Cat 3D Hoodie

~ Dragon Ball&Natura..
~ Avenger alliance 3D...
~ Wolf 3D Hoodies

~ Skull 3D Hoodies

~ Galaxy Space 3D...

~ Animal 3D Hoodies

~ Camo Stle&Fruit 30...

© Men Clothes
~ T-Shirt
~ VES
~ short sleeves
~ Long sleeve
~ Sports Set
~ Pants
~ Dragonball beach...
~ beach shorts

= New 2019 Tops Tees
~ New Compression Tops

~ Sales promotion.

Women clothing

~ Compression t-shirt

Service Center

 

bttpsifinnnnaliexpress.comsstore/3494015

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Get coupon now
valid for ? days
Limit: 1 per buyer
Issued/Total: 51/888
Applicable on: All items

  

  
  

Top Selli

Get coupon now
valid for? days
Limit: 1 per buyer
Issued/Total: 25/8888
Applicable on: All items

Time left until promotion ends: 8d 10h Irn

Shop Now *

 

Avengers Endgame 4
Quantum Realm...

US $6.60 / piece

bie 4 on fi

Avengers Endgame
Quantum Realm Battle...

US $6.60 / piece

Hie #4900 fe

 

Professional digital HD printii
supporting Drop Shipping and

Support custom 3D: T-shirt long-sleeved vest Hoodies zipper hoodie
Contact: skype: (+8618355115692 ) WeChat:(xx18855115692 )

 

 

Get coupon now

valid for ? days

Limit: 1 per buyer
Issued/Total: 701/888
Applicable on: All iterns

" Get $6.00 off on orders over US $88.00

" Get 620.00 off on orders over US $288.00
" Get 641.00 off on orders over US $588.00
(Incl. shipping costs)

If vou want to purchase more than one product, please ad
first. When you proceed to the checkout page, the SellerC
calculated;

2019 New Carol Danvers
movie Captain...

US $6.60 / piece

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2019 New Carol Danvers !

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Al | Express —* I'm shopping for... a &
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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 2 of 319 PagelD #:693

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Avengers Endgame 4 Avengers Endgame 2019 New Carol Danvers 2019 New Carol Danvers !

Quantum Realm... Quantum Realm Battle... movie Captain... movie Captain... \

US $6.60 / piece US $6.60 / p US $6.60)/ piece

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Service Center

   

Contact Now

 

Follow

 

Top Selling

New Dragon Ball 2
T-shirts Mens
US $6.49 / plece

Orders(207)

  

Avengers Endgame Men T Shirt 2019 New 2019 Carol Danvers 2019 New arrive popular :
Realm Cosplay T shirt... Avengers 4 Tshirt... Cosplay Costume... movie Captain... |
US $6.60 US $6.60 /
Ls $4

Comic Marvel
Avengers T Shirt

          

 

 

  

   
 

   

MS $5.32) Orders(t)
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Deadpool 2 30
Printed T shirts Men... = *
U5 $6.75 / piece — —
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New 2018 Custom
Unisex Sweatshirt
US $15.45 / pier
Orders(100)
New 3D Printed
T-shirts MMA... 2019 Movie Avengers Avengers Endgame 4 Avengers Endgame BIANYILONG 2018 new ’
US $9.39 / pic Endgarne Quantum... Quantum Realrn 3D... Cosplay Quantum Men Hooded IW Tony... |
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Brand 3d T-shirt
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US $5.92 / plece

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New 2018 Dragon Ball
Pants Compression...
US $7.69 / pi

Orders(56)

3D Clown T Shirt Skull
Skeleton Summer

US $5,92 / olere

     

         

Orders(49] x

Avengers Endgame 2019 New Avengers 2019 New Hoodies 2019 Avengers Tattoo :
2018 New Fashion Quantum Realm... Endgame Quantum... Avengers 4 Endgame... Endgame Quantum... |
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Orders(4?
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Dragon Ball DBZ
Bulma Super Saiyan...
US $6.47 5
Orders(45}

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New Fashion Brand
T-shirt Hip Hop 3d...
US $6.47 / piece

Orders[41]

Dragon Ball DBZ
Bulma Super Saiyan...

US $6.49) plece

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Orders(36)
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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 3 of 319 PageID #:694

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oii Ciena r Orders[{4]
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a US $6.47 / piece Orders{143] Orders[{36) Orders(11) I

Orders(30]

 

Hoodies 30 Men
Women Sweatshirts...
U5 $15.45 / piece

Orders[29)

Trending Pants
Dragon Ball Pants...
US $8.64 / piece
Orders(25)

 

Brand 3d T-shirt Animal Brand Dragon Ball T 2018 New Fashion Brand 3D Clown T Shirt Skull |
Lion Shirt... Shirt 3d T-shirt... T-shirt Hip Hop... Skeleton Surnmer.. |
US $5.92 / piece US $6.49 / 5
LISS

New 2018 Harajuku
Style Classic Anime...
US $6.47 / piece

Orders(24)

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ace U5 $0 00 f piece
vy) Orders(?)

 

Black Spiderman
Armor Men
US $6.54 piece

Orders(23]

Raglan Sleeve
Spiderman 3D Printed
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THOR 3D Printed T
shirts Men Avengers...

      

US $6.89 / plece New 2078 Harajuku Style 2018 New Fashion New Fashion Brand Dragon Ball OBZ Bulma
Orderstt 2} : Classic Anime... MenfWomen T-shirt 3d... T-shirt Hip Hop 3d... Super Saiyan...
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Orders(24] Orders[4?] Orders[41} Orders[45] |

   

   
 
 

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Simple Cartoon Beer Hot Sale 3D T Shirt Men Summer T-shirts 3D Smoke Men t-shirt j
Mens t-shirt... Fake Suit... Print One Piece... Casual Shirt Brand... 1

US $6.66 / piece US 56.68 / piece
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Women Tank Tops Men Tank Tops Men Cartoon Bodybuilding Dragan Print Tank Tops Men Vest |
Vest Dragon Ball... Vest SUper.. Ball Tank Tops Men... Male singlet...
US B7.73 / pi US $7.73 / piece US $7.08 / piece US B7.73/
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Superhero 3D t shirt Batman ¥S Superman Batman 30 tshirt Men Superhero 3D tshirt !
Men Compression... 3D tshirt Men... Compression... Men Compression... |

US $7.3 US $7.36/ US $7.36/ 5

           

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Superman Chemise T Superhero Hommes Superhero Hommes T Superhero lronman 7 :
shirts Men... Anime T shirts Men.. shirts Men... shirts Men... J
US $7.81 / piece US $7.81 / piece US 37.81 / piece US S7.81/p
$1466 z US 4166 piece HS $11 66 felece
Orders[{1] Orders(1}
Mew 2018 Dragon Ball Spiderman 3D Printed FLASH 3D Printed Running Compression \
Pants Compression... Pattern. Leggings Men Pattern... Pants Tights Men... \

US $12.15 / piece

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Orders[56) Orders{10)

2018 digital hd 3D printing workout clothes.

  
  

   

     

Newest 2018 Fitness Men T shirts Trousers Long Sleeve Rash Guard Cool 201? Sportswear i

Compression Sets 7... Set 2 Piece... Complete... Sets Men... |

US $16.81 / US $16.44 US B17. 74/ US $17.62! piece |
$48 20 fie Ls $18 Kis £ Ls 4 tpi

      

Orders(1] Orders[2]

  

Fashion Long Sleeves Muscle Men 3D Prints Mens Compression New 2018 Fitness Men \
Men's T-shirts 30... Compression... Shirts 3D Teen Wolf... Camouflage Sets... 1

US 59.52

Us $449,

    

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 5 of 319 PageID #:696

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i 7 a ~—-s A

Fashion Long Sleeves Muscle Men 3D Prints Mens Compression New 2018 Fitness Men \

Men's T-shirts 3D... Compression... Shirts 3D Teen Wolf... Camouflage Sets... 1

       
  

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Mew 2018 Men Thermal Hot! 2018 Men T shirts Men Compression Shirts Men Boy Compression |
Underwear Sets... MMA. Long Sleeve... MMA Rashguard... Base Layer Tight... \
US $9.90 US $9.69 / piece US $9.14! piece US $9.12 / |
US $42.40 / pjece Lis t12 45 Lis t44 45 Lhe hts

Orders[2] Orders{1]

  

   

  

MMA Compression Set New Quick Dry Running Running Compression Quick Dry Sports
Man Quick Dry... Shirt Men... Pants Tights Men... Compression Pants \
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Short sleeve tights

   

BIANYILONG 2018 new BIANYILONG 2018 new BIANYILONG 2018 new BIANYILONG 2018 |

   

Hoodies... Hoodies... Men Hooded... Hoodies Sweatshirts... |
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BIANYILONG 2018 new BIANYILONG 2018 new BIANYILONG 2018 new BIANYILONG 2018 |
Hoodies... Hoodies.., Men Hooded... Hoodies Sweatshirts... |
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Orders(1) Orders[{1]

  

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Men Hooded Half... Zip hoodie man... Quantum Realm 3D... Men Hooded Scary...

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Orders[2] Ordersta) Orders[9] |

  

Autumn Winter 3D Print 2019 Avengers Tattoo Autumn Winter 30 Print BIANYILONG Hoodies |

     

Spider-Man Into... Endgame Quantum.. Teen Titans... Sweatshirts Coat... |
US $17.55/ piece US $18.50 / piec US $17.55 / piece |
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BIANYILONG 2018 new BIANYILONG 2018 Men BIANYILONG 2018 new BIANYILONG 2018 new |
Men Hooded Joker... Women Hooded God... Men Hooded Capsule... Men Hooded Shota,., |
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Informacées sobre o AliExpress Idiomas

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 7 of 319 PagelD #:698

  

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“= 1 : 7 Wish Hi, Lauren
Express =" Irn shopping for... All Categories B e te 2 nay AE orabe fons

Store: +8618355115692 Store Opent 1 year{s) 94.2% Positive feedback Follow

Home = All Catepores > Men's

 

Summer New t shirt men High Quality 3D Harley Motorcycle And skull
Printed T-shirt Short Sleeve G-Neck men’s tee shirts Dropship

(2 wotes) S orders

  

Price: IS PP oe lec
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shipping: Free Shipping to United States via ePacket ~
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US $6 off per US $88 =

 

Policy f) Returns accepted if product not as described, buyer pays return
shipping fee; or keep the product & agree refund with seller,
View details +

Bal On-time Delivery
60 days

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Buyer Protection
M Full Refund if you don't receive your order
Full or Partial Refund, ifthe item is not as described

Learn More

Sold B
se Product Details Feedback (2) Shipping & Payment Seller Guarantees Report item
+8618355115692 Store

* Get US $6 off on orders over US $88
* Get US $20 off on orders over US $288
* Get US $41 off on orders over US $588 “

94.2% Positive feedback

Detailed seller ratings

 

 
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Summer Newt shirt men High >

e+eo

+9618355115692 Store
Chifa

94.2% Positive feedback
Detailed seller ratings ~

Open: 1 year(s)

Visit Store Follow

Contact Seller

(2) ContactNow

This Seller's Categories

~ 2019 NEW 3D Print T...

> New product...

- Fish 3D Printing T..,
- Cat 3D Printing Tu.

+ star wars T shirt

- Dragon Ball ZT shirt
- One piece 3D T-shirt
skull 3D Printing T...
-Rick And Morty 3D...
- Discount is...

- 3D Zipper Hoodie

- 2019 new zipper...
- Zipper Hoodie

— 2019 New Hoodie...
New product...
-Fish 30 Hoodies
- Cat 3D Hoodie
- Dragon Ball&Naturo...
- Avenger alliance 3D..,
-Wolf 30 Hoodies
- Skull 3D Hoodies
- Galaxy Space 3D,.,
- Animal 3D Hoodies
- Camo Style&Fruit 3D...
- Men Clothes
T-Shirt
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short sleeves
- Lone sleeve
- Sports Set
- Pants
- Dragonball beach...
-beach shorts
— New 2019 Tops Tees
- New Compression Taps
- Sales promotion...
= Women clothing
- Compression t-shirt

View More

Top Selling Products
From This Seller

 

 

 

| @ 2B hips: (Armin aliexpress.com /item Summer-New-t-shirt-men-High-Quality vow & te

 

Shipping & Payment

Seller Guarantees

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Report item

 

Product Details Feedback (2)
& Seller Discount
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| 7
: Time left until promotion ends: 3d dh om

7 Shop Now +

Itern specifics

Brand Name; ZOOTOP BEAR
Style: Casual

Collar: O-Neck

Pattern Type! 3D

Fabric Type: Broadcloth
Gender Men

Tops Type: Tees

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gender. Suit for men women unisex

Material: Cotton Polyester

Product Description

3D Short-Sleeved T-shirt Size Control Standard / unit: cm

2XL 3XL

 

SIZE §

Bust 87
Length 62
Sleeve 18

  

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* Get US $6 off on orders over US $88

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* Get US $41 off on orders aver US $588

(Incl. shipping costs}

Ifyou want to purchase more than one product
please add ewerything to your Cart first. When you
proceed to the checkout page, the Seller Discount will

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Sleeve Lenethlcm), Short
Material Cotton,Polyester

Sleeve Style: Regular sleeve
Hooded) Na

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[tem Type: Tops

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pattern type: Hip-hop 3D printing

decoration): 3D printing

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Top Selling Products Preduct Details Feedback (2) Shipping & Payment Seller Guarantees
From This Seller

 

 

US $5.92
(65)

143 orders

  

 

 
 
  

US $15.30 ANNA A
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34 orders

US $7.62

(21)

56 orders

 

US $6.41
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Trending Products

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 10 of 319 PagelD #:701

 

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Buyer Protection Help D)save big on our appt Ship i

 

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Express > Order List > Order Detail

Place Order Pay Success Order Complete

+ Need Help?

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Order Number. 98706930803493
Status: The seller has shipped your order
Reminder. Your order should anive within 25-25 Days, Factors such as delayed logistics and customs clearings may have an impact on the delivery time
1_1f your order does not arnive on 2019-05-22 _ you can apply for a refund by opening a dispute

2. To extend the Buyer Protection for this order. please click here -

(_ Select All Product Details Product Status Options
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A : Summer New t shitt men High Quality 3D Harley Awaiting Receipt Open Dispute
Motorcycle And skull Printed T-shirt Short Sleeve

QO-Neck men's tee shirts Dropship.
Properties: Color DT061 ; Size M
(xiong liqi)

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Confirm Goods Received

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acket LT473516462CN

2019.04.08 22:44 (GMT-7T): Awaiting Delivery Scan
2019.04.08 08:44 (GMT-7}: Out for Delivery

2019 04.08 08:34 (GMT-?): Sorting Complete

View More

Refresh

Tracking information is available within 5-10 days. You can track your order here ePacket

View Delivery Detail

 

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pre: +8618355115692 Store|

 
   
 

 

eller

If you wish to leave the seller a message or view the message history, simply click here.
Contact Name: Doug Penn

Address: 230 °S. Clark St
Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 8473451332

 

Tel: +1-
Fax:
oduct Details Price Per Unit Quantity Order Total Status
» Summer New t shirt men High Quality $7.16 1 piece $7.16 Awaiting Receipt ePacket
’ 3D Harley Motorcycle And skull Free Shipping
Pyitea T-shirt Short Sleeve O-Neck Estimated Delivery Time: 25-25 Days
men's tee shirts Dropship Processing Time: 7 Days
Color #7 DT061
Size: M
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US $3716

 

 

 
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Product Details

Summer New t shirt men High Quality 3D Harley
Motorcycle And skull Printed T-shirt Shor Sleeve
O-Neck men's tee shirts Dropship
; Size M

Properties: Color DTO61
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Confirm Goods Received

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acket LT473516462CN

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ore: +6618355115692 Store | x Contact Seller

 

Contact Name :
Address:

Doug Penn
230 S. Clark St
Ste 552
Chicago, Illinois, United States
60604

8473451332

+1-

Zip Code:
Mobile:
Tel:

Fax:

oduct Details.

Price Per Unit

Summer New t shirt men High Quality
3D Haney Motorcycle And skull
Printed T-shirt Short Sleeve O-Neck
men's tee shirts Dropship

Color #7 DT061

Size-M

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by Category

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Product Status Options
Awaiting Receipt Open Dispute

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2019.04.08 22:44 (GMT-7): Awaiting Delivery Scan
2019.04.08 03:44 (GMT-7}: Out for Delivery
2019.04.08 08:34 (GMT-?): Sorting Complete
View More

Refresh

S Tracking information is available within 5-10 days. You can track your order here ePacket

View Delivery Detail

 
   
 

Status

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Awaiting Receipt

Free Shipping
Estimated Delivery Time: 25-25 Days
Processing Time: 7 Days

Product Amount Shipping Cost Total Amoun

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S Activity

March 18, 2019

Re tL - $7.96
Payment
Paid with Seller info
VISA x-5176 RLS
You'll see "PAYPAL *XIONG LIOL XION" on your card statement.
Invoice ID
Ship to 120201101020519031800875021_99706930803493

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230 5. Clark St Purchase details

 

Ste 552 Summer New t shirt men High Quality 3D $7.96
Chicago, IL 60604 Harley Motorcycle And skull Printed
United States T-shirt Short Sleeve O-Neck men's tee
shirts Dropshi

Category Item #99706930803493
Clothing
Transaction ID Total 47.56
FOK7435710624002%

Print details
Need help?
lf there's a problem, make sure to contact the seller Report a problem

through PayPal by September 14, 2019. You may be
eligible for purchase protection.

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Multiple item - claim
Monday, March 18, 2012 Payment to && 4/42 27.96 USD

Which items do you need to contact us about?

Seller contact
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[1 99706830803493 - Summer New t shirt men High Quality 3D Harley Motorcycle And 529273873 @qq.com
skull Printed T-shirt Short Sleeve O-Neck men's tee shirts Dropshi

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Oo Physical item
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Store 46GPFORTYSIX Store Open 2 year{s) 97.6% Positive feedback
Detailed seller ratings (O1
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Mar 5,2017

 

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Knight waist bag offroad waterproof Outdoor Shoulder Bags Motorcycle Rider CrossBody Bum Hip shoulder bag offroad motorcycle bag package Waterproof Motorbike rac
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Motorbike Backpack Waterproof Riding Bag Moto 2017 Motorcycle helmet bag Cycling motorbike MOTOCENTRIC Motorcycle Tail Bag Waterproof 2018 Motorcycle Leg Bag
Rackpack 2 Liter TPU Camelbak Sport Cycling Bicycle backpack helmet bag Reflective waterproof Luggage Rain Cover Motorcycle Tank Bag Multi-Functional Motorbike Motocross Cyc
US $26.70 US $40.19 US $30.19 US $16.75

   

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NEW waterproof Catford Motorcycle waist bag Chest MC Motorcycle Leg Bag Oxford Waterproof Motoreyele Phone Holder Mobile Phone Stand ROCKBIEER Motorcycle *
pack motorcycle tiding off-road package pockets Motorcycle Luggage Sports Leg Bag Cycling Support for Phone 4 55 6 Plus Offroad Riding GPS Navigation Bag Motoreye
US $26.24 US $16.10 US $12.16 : US $33.38

   

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Motorcycle Backpack Carbon Fiber Motocross 2018 Motocross Tail Bag Waterproof Rain Cover ROCK BIKER Big Screen Motorcycle Tank Bag MOTOCENTRIC Motorey J

  

 

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US $31.46 US $335.21

 

  

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MOTORCYCLE GLOVE

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BUOMY Motorcycle gloves 100% Waterproof Keep SUOMY Motocross Motorcycle Gloves Men Women  SUOMY Motorcycle racing glove moto motocross SSPEC Motorcycle Glove :
Warm Guantes Moto Luvas Touch WindproofScreen Leather Waterptoof Winter Ski Protect Glove gants motorbike gloves full finger cycling gloves Moto Motocross Gloves F
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Motocross Racing Glove MotoGP Protective Gear Gears Cychng MTB ATY DH MX Dirt Bike Offroad Finger Protective guantes moto Motocross hava finger Motocross glove Vi
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Motoreyele riding glove Non-slip motocross gloves OffRoad Racing Gloves Full Finger Moto Riding Glove Moto Windproof Full Finger Protective Gear Genuine Leather Long Mo

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US $43.40 US $16.99 US $6.68 US $6.38

 

 

   

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Free Shipping Winter Keep Warm Balaclava 2016 Motorcycle Helmet Inner Cap Coolmax Hat Quick Carbon Fiber Motorcycle Backpack MotoGP Racing SUOMY New Motorcycle

Motorcycle Riding Ski Snowmobile Mask Head Cover Dry Breathable Hat Racing Cap Under Helmet Beanie Bag Motocross Hard Shell Backpack Luggage BAG Touch Screen Winter War.
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Racing Jackets Oxford cloth Motocross Jacket Winter Rider Casual Jacket Motorbike Chaqueta de mezclilla = Double Waterproof motorcycle pant Lining Summer Motorbike motoci
US $103.10 US $122.76 US $43.78 US $63.24

     

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NEW? Arrival Moto Casual Denim Jacket Motorbike LYSCHY Motoreyele Jacket Summer Winter Body McC Brand Vainter Motorcycle riding jacket Double LYSCHY Motoreyele Jack ¥
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NEW Arrival Moto Casual Denim Jacket Motorbike LYSCHY Motorcycle Jacket Summer Winter Body Mc Brand Vainter Motorcycle riding jacket Double LYSCHY Motorcycle Jacki
Protective Jacket Summer Mesh Breathable Men's Armor Riding Off Road Racing Sports Jacket Clothing waterproof Motocross Protective jacket Cotton Lining Resistance Motorbike Jacl
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Water Cooling Jacket For Men Moto Motocross Racing Vest Street OF Road Safety Jacket Oxford Night Riding Reflective Vest With Protective Pads Motocross Racing Evapot
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Summer Riding,Intelligent Water Cooling Vest

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LYSCHY Liquid Cooling Vest Motorcycle Cooling LYSCHY Waterproof Motorbike Motocross Jacket Motorcycle Jacket Summer Mesh Waterproof GPFORTYSIA Motorcycle
Bport Vest Adult Motorbike Street Racing Summer Oxford Hard Wear Vanter Waterproof Biker Jacket Motorbike Rally Racing Suit Professional Protective Motorbike ShitttP ants mo
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VWEMAR Motorcycle Knee Pads Kneepads Fireproof Motorbike Kneepads and Elbow Pads Protector 4pes Top Quality Motorcycle Protective kneepad Motoreycle Knee Pads joe
PP Shell Kneepad Riding Motocross Slider Motorbike Antifall Protective Guards Sports Scooter Motocross Knee and Elbow Protector Protective Gear knee & elbow Safety Guar
US $30.17 US $15.30 US $13.90 dsold ERS $29.88

 

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Fireproof Motocross Knee Pads Protector Motorcycle 4pcs Motorcycle Eneepad Knee And Elbow Pads
Rider Leg Knee Protective Gear Drop-Resistant Sport = Protector Motocross Racing Knee Pads Off Road MX

US $20.08 ‘soll (18 $18.80 13 sold

MOTORCYCLE GOGGLES

 

 
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IM Motorcycle Glasses gafas moto Racing goggles OffRioad Racing Goggles ATV Eyewear Motocross Racecraft Racecraft goggle clear lens noseguard shatk gafas Motocross me

US $18.91 US $25.28 US $37.73 US $16,359

   

 

 

  

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8. Size: MW BLE aR eKLe
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WAI Saldier helmet Motorrad)

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> LYSCHY
-SSPEC
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- Motorcycle Bags &...
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-MOTO CENTRIC
-SSPEC

—- Motorcycle Goggles
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— Motorcycle Gloves
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-VEMAR
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> LYSCHY

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Injection moulded ABS Shell for strength and durability;
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Brand new interior padding design for maximurn comfort;
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1* Motorcycle Helmet

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* You have 7 days to contact us and 30 days to return it from the date it was received. If this item is in your
possession more than 7 days, it is considered used and WE WILL NOT ISSUE YOU A REFUND OR REPLACEMENT,
Shipping cost is bear by both seller and buyer in half.

« All returned items MUST BE in the orginal packaging and you. MUST PROVIDE us with the shipping tracking
number, specific reason for the return, and your po#.

+ We will refund YOUR FULL WINNING BID AMOUNT, upon receipt of the item in its original condition and pack-
aging with all components and accessories included, AFTER BOTH Buyer and Seller cancel the transaction from
aliexpress. OR, you may choose to have a replacement

=

Miss) E

If, for any reason you are not satisfied with your purchase, please contact us before leaving neutral or negative
feedback. We will work with you to until you are satisfied.

Please give us the best feedback, we'll be grateful.

 

ee Rate this transaction: — =» ©) | 5stars

_™  ™ ) Item is as described: §) 9) J} 9) ¥) 5Sstars
Ke :

—~__— The communication: 5» §» ¥) 9) |) 5Sstars
The delivery speed: § © | | © 5Sstars

Contact us before leaving any negative feedback, we will try our best to solve your problems.

 

Packaging Details

Unit Type: piece Package Weight: 1.0ke (2.2016)

Package Size: 30cm x 25cm x 25cm (11.81in « 9.84in x 9.84in)

Transaction H istory 2 transactions in last 6 months. Sort by latest #

 

Buyer Transaction Information

Recently Viewed @

 

GB ree, 1 piece
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 34 of 319 PagelD #:725

WWI Soldier helmet Motorrad

-)> Cc i | ae https: /Asnanw.aliexpress.com item AAAAII-Soldier-helmet-Motorradhelm-DC w *** © tr Ii\ O =

 

 

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Product Details Feedback (0) Shipping & Payment Seller Guarantees

Please give us the best feedback, we'll be grateful.

 

 

= Rate this transaction: .» ©» \» |) \)  45stars
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, ‘| Item is as described: § ¥) 4 ¥) 4) Sstars

en The communication: »» ~) )) |) |. 45stars
The delivery speed: § = | ~ | 5Sstars

Contact us before leaving any negative feedback, we will try our best to solve your problems.

Packaging Details

Unit Type: piece Package Weight: 1.0ke (2.2016.)

Package Size: 30cm # 25cm x 25cm (11.81in x 9.84in x 9.84in)

 

Transaction H istory 2 transactions in last 6 months. Sort by latest #
Buyer Transaction Information
GS rete, 1 piece
Bes 18 Mar 2019 05/27
GS wre, 1 piece
<a, KR 25 Oct 2018 02)01

More Products

 

From This Seller

 

US $2.99 US $23.75 US $10.41 US $37.62
rik (74) rik ie (11) tite (21)
135 orders 24 orders 32 orders

From Other Sellers

a
Porvoo tat

  

US $62.90 US $143.10 US $5.02
dete (1) dete te tee (44)

US $1.98

 

Recently Viewed @
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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 35 of 319 PagelD #:726

 

    

 

 

 

 

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<] | 8 https: /tradealiexpress.com/order detail. htrforderld=29637327. ~ a] Search.. pe a) Soe i é
| (=> My AliExpress: Manage Or... | __

Buyer Protection Helo 0 Saye big On ote appl hip to
=XP ress | 'm shopping for Q | Scat | Wsh List * Signin
Express > Order List > Order Detail

Place Order 7 Paci eee aa Shipment Order Complete
oy
a
=
Order Number. 99637327536773 3
=

Status: The supplier is processing your order

 

Reminder. Your order will be automatically cancelled if the seller fail fo ship your order in e& Tdays (S5hours 02@minules 45seconds

Extend Processing Time Request Order Cancellation

ee | Financial

ore: 4GGPFORTYSIX Store | 2) Contact Seller |

 
   
 

If you wish to leave the seller a message or view the message history, simply click here.
Contact Name : Nicholas Yang

Address: 2305. Clark St.
STE 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 8473451332
Tel: +1-

oduct Details Price Per Unit Quantity Order Total Status

WWII Soldier helmet Motorradhelm $36.10 1 piece $5 36.10 ePacket
EY DOT Approved Motorcycle Harley Estimated Delivery Time: 25-25 Days
Retro Helmet motorbike Half Helmets Processing Time: 7 Days
+ motocross Goggles M-XXL =
Size: M
(stella shen)

zy

Product Amount Shipping Cost Total Amoun
US 3.36.10 US $2.74 US 3 38.64

AliExpress Multi-Language Sites

 

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Vieinamnes&

by Category Alibaba Group

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Only secure content is displayed. What's the risk? | Show all content

 

 

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 36 of 319 PagelD #:727

 

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| BP PayPal: Transaction Details

P Tirta Activity Send & Request Wallet (eiai-tey | oy LOG OUT

 

<, Activity

March 18, 2019

CPE eae tes SiR) - $40.39
Payment
Paid with Seller info
VISA X-5176 CiSERET aS SIRs]
You'll see "PAYPAL “GUANGZHOUSH GUA" on your card
Invoice ID
statement.
720201101341619031800851029_99637327536773
Ship to

Purch detail
Nicholas Yang urenase ails

230 S. Clark St.
STE 552 Approved Motorcycle Harley Retro Helmet

WWwiIl Soldier helmet Motorradhelm DOT $40.39

Chicago, IL 60604 motorbike Half Helmets + motocross

United States Goggles M-XXL

Item #99637327536773
Category
Auto Supplies

 

Total $40.39
Transaction ID

FNM7ST14K DO845524,

Print details

Need help?

lf there's a problem, make sure to contact the seller Report a problem
through PayPal by September 14, 2019. You may be

eligible for purchase protection.

HELP GONTACTUS SECURITY FEES FEEDBACK
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 37 of 319 PagelD #:728

‘UP https: (ame, paypal.com rssalutioncenter conta ch mips ThiMT EAR DResS525 = fm PayPal, Inc. [US] a) Search... pe

 

r F
|B Resolution Center - PayPal

FP Summary Activity Send & Request Wallet Offers

 

Multiple item - claim

ata! mae ah
Monday, March 18, 2019 See Li Tes Re $40.39 USD

Which items do you need to contact us about?

Seller contact

Wi eiSe +S BR)

UC 99637327536773 — WWII Soldier helmet Motorradhelm DOT Approved Motorcycle kristina@mjmoto.com.cn

Harley Retro Helmet motorbike Half Helmets + motocross Goggles M-XXL

© Didn't receive

(Not as described

What is the category of your purchase?

o Physical item

oO Digital good / service

Compose message to Paypal

ES | m ae }

Return to transaction

HELP CONTACT US SECURITY FEES

190-7099 PayPal, inc AN ilghls resemec rrivayy Legal
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 38 of 319 PagelD #:729

AHP HELMETS Store - Small 0)

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Express

store: AHP HELMETS Store

 

 

 

ae https://ahp-helmets.aliexpress.com /store/2070139 “iiss |

 

Open: 3 yearts)

 

I'm shopping for. In this store

 

97.3% Positive feedback

15 Followers

Follow

 

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Store Home

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Home > Store Home
Store Categories

Cross helmet

AHP helmets
children helmets

Goggles
BYE

~ Thermal mask

Service Center

Contact Now

Follow

 

Top Selling
RO FREE SHIPPING
motorcycle Adult...
US $31.57 / pie

Orders(950)

Adult vintage Open
Face Half Leather...
\ US $30.00! piece

Orders(901)

Free shipping PU
Leather Helmets 3/4...
US $28.80 f piece

Orders(685)

FREE SHIPPING
motorcycle Adult...
US $30.04 ' E

Orders(1 70]

Motorcycle Motorbike
Rider Half PU...

US $24

 

+

Orders(143)

8 Adult Leather For

# Harley Helmets ...
iS £31.08 i “
Orders(85)

NEW Off Road
motorcycle Adult...
US $16.47 / pie

Orders (80)

FREE SHIPPING
German Wil Style
US $68.00 c

Orders (G4)

Motocross Motorcycle
Modular Mack

 

 

 

™ Full Refund

WF you don't receive your order

=] Buyer Protection

Products

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German Motorcycle Will Style Half...

   

Free shipping PL Leather for Harley...

US $22.25) piece US

Orders(39) \

Motorcycle Face Mask Outdoor

 

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AHP thompson motorcycle helmet

Cascos., Sports. Winter.
US $69.99 / piece US $15.00! piece US $15.00 ! piece
Orders{3] Orders{2}

  

Motorcycle helmet cascos para moto...

 

 

Motorcycle Half Face Mask Warm

   

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3 List

New here? Gi

 

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items not as descnbed
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Off Road r

US $36.

 

Orders[6]

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FREE SHIP

 

 

Recently Viewed @

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 39 of 319 PagelD #:730

AHP HELMETS Store - Small)
Cc

SF FREE SHIPPING
German Will Style
US $68.00 / piece

Orders(64]

 

 

 

@ QA) bttpsy//ahp-helmetsaliexpress.com/store/2070139 wie & t| i\ O =

Qa i *
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Motocross Motorcycle

Modular Mask...

US $7.59! piece

Orders(62) Motorcycle Bicycle Halloween Mask... Motorcycle Bicycle Halloween Mask... Adult vintage Open Face Half Leather... = Free shipp

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Adult motorcycle ‘

US $1.00) piece US $1.00);
motocross Off Road... rn ;
US $31.57 / pie

Orders(59]

 

ce US $30.00) piece US 590.
Orders(11) Orders[2] 7 See Orders(901] 1

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German Motorcycle
WIL Style Half...
US $22.25 / pi

Orders(54)

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bP

Free Shipping vintage
Motorcycle...
US $25.55 f perc

Orders(54]

German Motorcycle
WAM Style Half...

 

5 $22.25 (pi

Orders(39)

 

Children Motorcycle

Helmets High... ha
US $16.65 / piece Motorcycle Motorbike Rider Half PL... Motorcycle helmet open face half PU Leather Motorcycle Helmet Free shipp

$16
moto... vintage...

Orders(39]
US $30.00 / piece US $43.12) US $66.00 / piece US $30.

Learhenraf Hatiey, © Orders(10) LS $92.00 Orders(19) Hs
Helrnets 3/4... ‘

U5 $34.00 f piece

Orders(38)

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Free shipping PU
-_ Leather for Harley...
US $28.80 / piece

    

 

Orders[32]

Motorcycle Motorbike
Rider Half Open...
US $88.00; c

Orders(29)

Motorcycle Adult BIKE
BICYCLE...
US $27.90/ 5)

Orders(27]

 

= @U Free shipping Top

ABS PU Leather for Harley vintage PU half Leather for Harley roto... Free shipping 3/4 helmet PU Leather... Motorcycl

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U5 $31.57 / piece

Orders(26) US $50.00) piece US $50.00! piece
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e& Motorcycle ATY Orders{?]

 

US $24.
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helmet mens moto

US £13

  

65 / piers

Orders(22]

 

Browse by Category Alibaba Group

   

 

 

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Recently Viewed @

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 40 of 319 PagelD #:731

AHP HELMETS Store - Small)
Cc

SF FREE SHIPPING
German Will Style
US $68.00 / piece

Orders(64]

 

 

 

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Motocross Motorcycle

Modular Mask...

US $7.59! piece

Orders(62) Motorcycle Bicycle Halloween Mask... Motorcycle Bicycle Halloween Mask... Adult vintage Open Face Half Leather... = Free shipp

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Adult motorcycle ‘

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German Motorcycle
WIL Style Half...
US $22.25 / pi

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Free Shipping vintage
Motorcycle...
US $25.55 f perc

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Children Motorcycle

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Orders(39]
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Helrnets 3/4... ‘

U5 $34.00 f piece

Orders(38)

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Free shipping PU
-_ Leather for Harley...
US $28.80 / piece

    

 

Orders[32]

Motorcycle Motorbike
Rider Half Open...
US $88.00; c

Orders(29)

Motorcycle Adult BIKE
BICYCLE...
US $27.90/ 5)

Orders(27]

 

= @U Free shipping Top

ABS PU Leather for Harley vintage PU half Leather for Harley roto... Free shipping 3/4 helmet PU Leather... Motorcycl

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U5 $31.57 / piece

Orders(26) US $50.00) piece US $50.00! piece
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e& Motorcycle ATY Orders{?]

 

US $24.
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helmet mens moto

US £13

  

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Orders(22]

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 41 of 319 PagelD #:732

   
   

 

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Adult vintage Open Face Half

Cc a
Beery DIY WITH DEKO DRILLS

Shop best-selling tools & save BIG

 

  

 

     
     

 

Br I 0 ta = i aneuae
_ : fae Wish Signin join
Express =" Inn: Shoppitg far, AME aR eOtes 2 = tise 2 rs AGNRReSS

New here? Get your coupons!

Store: AHP HELMETS Store Open 3 year{s) 97.3% Positive feedback Follow

        

Home abjle ty >t » Helmets
<< § .
r GIFT= Ca: + Adult vintage Open Face Half Leather Helmet Moto Motorcycle Helmets

Motorcycle Motorbike Vespa

votes) 913 orders

Price: US $30 / piece

Color: ¥- -

Size: hl L AL

Shipping: Free Shipping to United States via ePacket ~
Estimated Delivers Time: 25 days

 

Quantity: - 1 + | piece (583

 

 

© 101

  

Return Policy EE) Returns accepted if product not as described, buyer pays return
shipping fee; or keep the product & agree refund with seller,
View details b

 

Ea On-time Delivery
NOES 60 days

ynens VISA SS GD ES PB Poyros EEE

View More

 

 

9 Buyer Protection

Full Refund if you don't receive your order
Full or Partial Refund, if the item js not as described

Learn More F

Sold By

Product Details Feedback (5) Shipping & Payment Seller Guarantees Report item
AHP HELMETS Store

Item specifics
97.3% Positive feedback

  

Detailed seller ratings Brand Name: KCO em Type! Helmets
felmet NVWiaterial) Abs Helmer Style, Open face
a cs
pen: 3 year(s] Weight 700 sender Unisex

 

Visit Store Follow Quality Certificate

Product Description

 

Contact Seller
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 42 of 319 PagelD #:733

a ult vintage Open Face Half 5
Adult vintage Open Face Half! >

€¢- C ff | @ 4B) pttosy/Anwwaliexpress.com jitem/Adult-vintage-Open-Face-Half-Leather-t “ ** | ii O =

 

 

Open: 3 year(s)

“

 

Product Details Feedback (5) Shipping & Payment Seller Guarantees

Visit Store Follow

 

Product Description
Contact Seller

Attention: about the freight
to most of the countries we will pay the freight before we send it ,but to
This Seller's Categories = some of the countries the freight is very expensive so we will get some extra
freight.Thanks for your kindly understanding

* Cross helmet

* AHP helmets Dear,
Welcome to my store, wish you will like this product, if you have any question or comment contact with me as soonas possible!
* children helmets

 

aia [Origin] ‘China
-Thermal task [Color]: as photos
[Size] :M57-58CM,L59-60CM, XL61CM
eerie ~~ [Material]: ABS
ono | [Appropriateseason]: Four Seasons General
x [Certificate]; DOT
[Buffer layer density]:55. softable , safe.
US $31.57
[472]
950 orders
‘. In front of a ruler head (above the brow) to
US $26.80 Lp
tah os | | the back of the head side uplift around a circle
El vom "This Is the size of the head circumference
Measuring Method

vse ATTENTION:

(38)

seo WE HAVE TWO.TYPES OF THE BUCKLE FOR
ae THIS HELMET.

AND WE WILL CHOOSE
RANDOMLY FOR YOU.

 

US $30.03
{42}

170 orders

1 = : : toa a
_ 4

 
 

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 43 of 319 PageID #:734

 

Adult vintage Open Face Half |

 

( €) > C2 | © aa https:/Avww.aliexpress.com fitem/Adult-vintage-Open-Face-Half-Leather-- v ss* © tr ik: ED)
rire 421
170 orders Product Details Feedback (5) Shipping & Payment Seller Guarantees

 

 

 

US $16.47
tei tirdr (40)

80 orders

View More &

 

Trending Products

 

US $34.00

toto (3)

8 orders

 

US $30.60

Forders

 

US $13.00
totter (2)

4orders

US $26.60

685 orders

US $24.30
weet (33)
143 orders

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 44 of 319 PagelD #:735

Adult vintage Open Face Half |

 

 

 

 

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A
i Preduct Details Feedback (5) Shipping & Payment Seller Guarantees
US $24.30
were ®t (35)
143 orders

View More +

 

 
 

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 45 of 319 PagelD #:736

Adult vintage Open Face Half |

 

 

€ Cc Ay | @ ae https. (Aina. aliexpress.com /item /Adult-vintage-Open-Face-Half-Leather-| w *** tr i\ ©

 

Preduct Details Feedback (5) Shipping & Payment Seller Guarantees

 

 

 
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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 46 of 319 PagelD #:737

Adult vintage Open Face Half | 4

Cc a

 

| @ @& https: /Aananw.aliexpress.com fitem/Adult-vintage-Open-Face-Half-Leather-t “  *** @ |

 

Product Details Feedback (5) Shipping & Payment Seller Guarantees

Packaging Details

2) piece

   

Package Size 35cm % 25cm x 25cm (13.78in x 9.84in x 9.84in)

Transaction History

929 transactions in last 6 months.

it ©

 

Sort by latest #

 

Buyer Transaction Information
GB ites. 1 piece

es 27 Nar 2019 14:02

Sy ie, 1 piece

we a nha eea le

 

 

 

 

 

 

2019 10:39
& [eee 1 piece
| 27 Mar 2019 10:32
@ [eee 1 piece
Ee 27 Mar 20190815
& [eee, 1 piece
Es 27 Mar 2019 02:53
& [eee 1 piece
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GS itt. 1 piece
Es 27 Mar 2019 02:37
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& [ee, 1 piece
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EY 34 Mar 2019 \haa

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 47 of 319 PagelD #:738

Adult vintage Open Face Half |

le C | © mae https:/Aamnw.aliexpress.com item /Adult-vintage-Open-Face-Half-Leather-+ vw «= © t| i\ O =

 

 

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Product Details Feedback (5) Shipping & Payment Seller Guarantees

 

 

5 24 Mar 2019 1444
as] [eee 1 piece
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Ey 24 Mar 2019 14:39
@ [Ft*, 1 piece
#2 no 24 Mar 2019 14395
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fs9ca 24 Mar 2019 14:34
& [Fee, 1 piece
peda 24 Mar 2019 14:52
1) Bf] Sfp |] Tee |e | oe, fee |e GotoPage| | Go

More Products

 

From This Seller

GIFT« “OR m ¥

ee

    
  

 

US $26.60 US $66.00 US $24.30 US $30.39
ew (122) v7 ee (7) reek we (38) v® eet
685 orders 64 orders 143 orders 4 orders

From Other Sellers

Fre Git $49 ;

> ate- 9+ Ss

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V2? 26a >

 

US $25.26 US $6.75 US $16.71 US $24.19
dete (121) debe (829) de te dee (182) ee (4)
300 orders 1,582 orders 321 orders 20 orders

Premium Related Products

 
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~ @ || Search... pe- i oy

 

@ | = https: /trade.aliexpress.com/order_detail.htmiforderld

=> My AliExpress | Manage Or...

SE DIY WITH DEKO DRILLS

Shop best-selling tools & save BIG

 

 

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=xpress hm shopping for OI — Cart Gp Wish List * Signin

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Express > Order List > Order Detail

Place Order Pay Success Order Complete

 

Order Number. 99706095293493
Status: The seller has shipped your order
Reminder. Your order should arte within 25-25 Days, Factors such as delayed logistics and customs clearings may have an impact on the delivery time

1_If your order does not arrive on 2019-05-18 _ you can apply for a refund by opening a dispute

2. To extend the Buyer Protection for this order please click here

( Select All Product Details Product Status Options

4 ~ Adult vintage Open Face Half Leather Helmet Haney = Awaiting Receipt Open Dispute
Mote Motorcycle Helmets Motorcycle Motorbike
Properties: Color brown ; Size XL
(vicky guan)
Tal

Confirm Goods Received

istics Information:

snational Shipping Tracking Number Remarks Details
Tipany
acket LT452092140CN 2019.03.26 20:55 (GMT-7): Processed Through Facility

2019.03.25 21:20 (GMT-7): Anival at Sorting Center
2019.03.25 20:16 (GMT-7): Despatch from Sorting Center
View More

Refresh

Tracking information is available within 5-10 days. You can track your arder here ePacket
View Delivery Detail

; 7 Financial

ore: AHP HELMETS Store

 
 

   
 

Ifyou wish to leave the seller a message or view the message history, simply click here.
Contact Name: Ulry Penn

Address: 2305. Clark St
Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 8473451332

Tel: +1-
Fax:
oduct Details Price Per Unit Quantity Order Total Status
Adult vintage Open Face Half Leather $30.00 1 piece $ 30.00 Awaiting Receipt ePacket
- Helmet Harley Moto Motorcycle Free Shipping
Helmets Motorcycle Motorbike Vespa Estimated Delivery Time: 25-25 Days
Color 4% brown ‘ Fn aga ;
Size: KL Processing Time: 7 Days
(vicky guan)

ral

Product Amount Shipping Cosi Total Amoun

 

US 3-30.00

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 49 of 319 PagelID #:740

 

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(> My AliExpress; Manage Or... ~ >
1. If your order does not arrive on 2019-05-18 . you can apply for a refund by opening a dispute
2. To extend the Buyer Protection for this order. please click here -
( SelectAll Product Details Product Status Options
a] Adult vintage Open Face Half Leather Helmet Harley Awaiting Receipt Open
ae Motorcycle Helmets Motorcycle Motorbike
espa
Properties: Color brown ; Size XL
(vicky guan)
teal
Confirm Goods Received
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istics Information: =
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“national Shippina Tracking Number Remarks Details rear
Tpany
acket LT452092140CN 2019.03.26 20:55 (GMT-F): Processed Through Facility

2019.03.25 21:20 (GMT-7}: Amval at Sorting Center
2019.03.25 20:16 (GMT-7): Despatch from Sorting Center
View More

Refresh

9 Tracking information is available within 5-10 days. You can track your order here ePacket.
View Delivery Detail

cn Financial

ore: AHP HELMETS Store| =) Contact Seller

 
   
 

If you wish to leave the seller a message or view the message history, simply click here.
Contact Name: Ulry Penn

Address: 230 5. Clark St
Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 6473451332

Tel: +1-
Fax:
oduct Details Price Per Unit Quantity Order Total Status
Adult vintage Open Face Half Leather $ 30.00 1 piece $ 30.00 Awaiting Receipt ePacket
- Helmet Haney Moto Motorcycle Free Shipping
Helmets Motorcycle Motorbike Vespa

Estimated Delivery Time: 25-25 Days

c
Color 4 brown Processing Time: 7 Days

  

 

      
 

    
 

size: XL
(vicky guan)
mi
Product Amount Shipping Cost Total Amoun
US $30.00 US 20.00 US 3 30.00
AliExpress Multi-Language Sites
Srerete ODiMite: & Repos Buya Pvedtion RESON IPT eine Russian Pomaue French Geran itatian Gay 7  Jecanesk Meweat
Vietname
by Category Alibaba Group
i, Product, Promotion, Low Pree, Great Value, Mev Allbabe Group Website AllEeerese Alita, All y Allugba Cloud Alibaba inion
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Only secure content is displayed. © What's the risk? Show all content | »

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 50 of 319 PagelD #:741

 

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P PayPal: Transaction Details

P Summary Activity Send & Request Melita [eile Help obi LOG OUT

 

© Activity

March 18, 2015

Guan Wei Na - $31.20
Payment
Paid with Seller info
VISA x-5176 Guan Wei Na
You'll see "PAYPAL *“GUANWEINA GUANW" on your card guanweina@1Z26.com
statement. 7
Invoice ID
Ship to 120201101058119031800820013_99706095293493
Ulry Penn

230 S. Clark St Purchase details

 

Ste 552 Adult vintage Open Face Half Leather $31.20
Chicago, IL 60604 Helmet Harley Moto Motorcycle Helmets
United States Motorcycle Motorbike Vespa
Item #99706095293493
Category
Auto Supplies
Total $31.20
Transaction ID
ST925572UG627443C
Print details
Need help?
If there's a problem, make sure to contact the seller Report a problem

through PayPal by September 14, 2019. You may be
eligible for purchase protection.

HELP GCONTACTUS SECURITY FEES FEEDBACK

FEEDBACK Ov
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 51 of 319 PagelD #:742

@ B https:/ unww.paypal.com/resolutioncenter/contact! mips\S1S23572UGar 43C ~ &@ PayPal, Inc. [US] @ | Search... P=) fi vw

P Resolution Center- PayPal |

SEL Activity Send & Request eli (oaa Offers

 

Multiple item - claim

Monday, March 18, 2019 Payment to Guan Wei Na $31.20 USD

Which items do you need to contact us about?
Seller contact

Guan Wei Na

CJ se7os095293403 — Adult vintage Open Face Half Leather Helmet Harley Moto guanweina@126.com

Motorcycle Helmets Motorcycle Motorbike Vespa

© Didn't receive
O Not as described

What is the category of your purchase?

© Physical item

© Digital good / service

Compose message to Paypal

Ea = a }

Return to transaction

HELP CONTACT US SECURITY FEES

PayPal, loc. All cuits preserve | Privacy Legal Polley Undares
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 52 of 319 PagelD #:743

Ancy Yl factory Store - Small X

 

 

 

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Seller Center Buyer Protection Help 0 Save big on our app! Ship to = i es
Express: —* I'n shopping for... (elas iat 2 @e e

 

Store An fact d Open 4 year(s) 97.3% Positive feedback « FOLLOW 1567 Followers

Detailed seller ratings (Out of 5)

This store has been open since Item as Described 47 Below Awerage -Ory Store
Juld1,2014 Communication 4.6 Below Average j

Shipping Speed 4.6 Below Average

Yisit Store FOLLOW

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SHOP NOW

 

HOT DEALS

 

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Diamond embroidery Flowers Diamond embroidery Elves Full Squ
bees diamond painting cross bear Sd diamond painting full Diamon
stitch crafts diamond mosaic diamond mosaic picture of — Embroic
kit full square rhinestone rhinestones cross stitch Mosaic |
home decor LK Christmas gift LK & ® &

Ea Ea US $:
US $3.78 US $3.27 LS Hee
SEARS Ach Ee

 

PICKED FOR YOU

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 53 of 319 PageID #:744

Ancy Yl factory Store - Small.

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are petrae 6°? ' ee hepa a
US$25 = YS $553

 

 

PICKED FOR YOU

{YI BRIGHT]

  

Double head nail pen crystal beads handle Diamond embroidery Flowers bees diamond Diamond DI¥ 5D Mosaic Tile Diamond Harley Full squareround diam
rhinestone earrings pick crayon manicure nail painting cross stitch crafts diamond mosaic kit Moto Square Diamond / Round Cross painting Animal wolf err
US $32.60 US $3.78 US $7.80 US $4.23

LIS $4.09 Mm ese56 Fare ose EE is t256

 

50 DIY diamond painting painted sunflower Full squareround diamond 5D DIY diamond Full Square/Round Drill 5D DIY Diamond 50 DIY diamond paintir
mosaic embroidery cross stitch square / round painting animal dragon embroidery cross stitch = Painting "dog" 3D Embroidery Cross stitch embroidery cross stitch
US $4.61 US $4.78 US $3.63 US $4.78

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1 Pcs Diamond Painting Cross Stitch Culture 5D DIY Diamond Embroidery Diamond Painting = Full SquareRound Drill 50 DIY Diamond Painting 50 DIY diamond paintir
Supplies Roller Plastic Roller Printed Glue Stick Full Square/Round Drill Flowers and butterfly 30 9 United States 3D Embroidery Cross Stitch mosaic embroidery cra:
US $3.24 US $3.92 US $4.56 US $4.78

Lis $6.00 Ls $7.00 ERY vstsss Re is ta.54

 

 

   
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 54 of 319 PagelD #:745

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50 DIY Diamond Embroidery Diamond Painting = 5D DIY square/round diamond painting bird 5D DIY Diamond Embroidery Diamond Painting 5D DIY Diamond Embro
Full Square/Round Drill Ferris wheel 3D cross embroidery diamond embroidery pattern = Full Square/Round Drill Blue butterfly 3D Full Square/Round Drill

  

US $3.92 US $4.23 US $4.78

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$4.23

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Full Square Diamond 5D DIY Diamond Painting DIY diamond embroidery full squareyround Love DIY diamond embroidery full square/round Fashion Wall Decor Sexy
"Marilyn Monroe" Embroidery Cross Stitch animal diamond painting cross stitch Colorful swirls diamond painting cross stitch Painting Needlework Rt
US $2.42 US $4.78 US $4.78 US $4.40

Lis $378 BY sissy Lis $3.54 stag

Top Selling

 

   

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Double head nal pen crystal beads handle rhinestone earrmgs Diamond embroidery Flowers bees ciamond painting cross 5D DIY Diamond Embroidery Diamon
pick crayon manicure nail tool diamond painting tools stitch crafts diamond mosaic bot full square rhinestone home equarefRound Drill Welf couple 3D Rr
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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 55 of 319 PagelD #:746

Ancy Yl factory Store - Small X

 

 

 

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Double head nal pen crystal beads handle rhinestone earrmgs Diamond embroidery Flowers bees chamond painting cross 5D DIY Diamond Embroidery Diamon
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SD DIY Diamond Embroidery Diamond Pamting Full Diamond embroidery Elves bear 5d diamond painting full 5D DIY ciamond painting painted sunfl
equare/Round Drill Castle & Owl 3D Rhinestone Home Decor diamond mosaic picture of rhinestones cross stitch Christmas embroidery cross stitch square / round
US $4.23 I4sold = OS $3.27 Disc US $H6F

 

SD DIY Diamond Embroidery Diamond Painting Full 5D DIY Diamond Embroidery Diamond Painting Full Full squarefround diamond 5D DIY diz
Square/Round Drill Wolves 3D Rhinestone Home Decor HYY Square/Round Dril Elephant 3D Rhinestone Home Decor birds & flower embroidery cross stitch

US $4.23 i2coll US $4.78 149 sold US $4.78

 

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 56 of 319 PagelD #:747

Ancy Yl factory Store - Small © X

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diamond pamting cross stitch embroidery craft rhinestone cross stitch embroidery family decoration XY1 painting cross stitch embroidery craft rk
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New product

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SD 5D DIY full square/round diamond DIY embroidery Mosaic 3D 5D DIY full square / round diamond DIY DIY-full $ quare/Round-Diamond-Emb:
rhinestone ciamond painting cross stitch "Love You Moon" embroidery rhinestone diamond painting cross stitch "cartoon CAT-Diamond-Painting-Cross-Stitch-1
US $8.54 US $8.54 US $7

    

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 57 of 319 PagelD #:748

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tMosaic SD DIY Diamond Pamting Full Diamond Full square/round "Cat holding flower " embroidery 5D DIY 3D 5D mosaic full squarefround ciamoi
Square/Round Cartoon Picture Rhinestone Diamond Cross diamond pamting cross stitch rhmestone mosate "drop embroidery rhinestone diamond pamtin;
US $7 US $6.93 US $8.54
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rhinestone camond painting cross stitch "purple flower" home rhinestone clamond painting cross stitch "swan" ammal home rhinestone chamond panting cross stitcl
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embroidery rhinestone clamond painting cross stitch "dog" rhinestone clamond pamting cross stitch "castle" home rhinestone chamond pamting cross stitcl
US $8.54 US $8.54 US $8.54

Help

 

AliExpress Multi-Language Sites
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 58 of 319 PagelD #:749

Ancy Yl factory Store - Small ©

 

 

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AliExpress Multi-Language Sites

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Browse by Category Alibaba Group

All Popular, Product, Promotion, Low Price,.Great Value, Reviews liana, A

    
 
 

 

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 59 of 319 PagelID #:750

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Shop trending styles this -
WOMEN'S CLOTHING Ramadan, up to 70% off

 

Seller Center Buyer Protection Help g Save big onalir app!

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New here? Get your coupons! 3
Store: Ancy YI factory Store Open: 4 year(s) 97.3% Positive feedback Follow

Home > All Catepories > Home & Garden) > Arts,Crafts & Sewing > Needle Arts & Crafts > Diamond Painting Cross Stitch

5D DIY Full Square Diamond Painting Cross Stitch "Harley Motorcycles" 3D
Biamend Embreidery Mosaic Rhinestone Painting Decer LK1

www 0) (| votes) 2 orders

 

SHOP THE SALE NOW
Price: (AAS Sn eae
sale Price: US $7.26 = 71.23 /piece
ojo

gia Get our app to see exclusive prices +

Size: Square Drill 20x40 Round Drill 20x40 Square Drill 30x60

Round Drill 30%60 Square Drill 40x80 Round Drill 40%80

 

Square Drill 50%100 Round Drill 50x100 Square Drill 60x120

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Round Drill 60x120 Square Drill 70x140 Round Drill 70x140

Shipping: Free Shipping to United States via ePacket ~
Estimated Delivery Time! 25 days @

Quantity: - oy + | plece (11986 places available)

i i Add to Cart O3
Nena Lisap 9 eee

gto [ Get Seller Coupons ri Buy 5 get 244 off *

 

 

 

Return Policy (2) Returns accepted if product not as described, buyer pays return
shipping fee; or keep the product & agree refund with seller,

View details »
Seller fal On-time Delivery
Guarantees: 35 days
aye ne VISA Ss cd Vie oes P PayPal eee Transfer
View More r

Buyer Protection
Full Refund if you don't receive your order
Full or Partial Refund, ifthe item is not as described
Learn More

Id
hae Product Details Feedback (1) Shipping & Payment Seller Guarantees Report item

Ancy YI factory Store

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 60 of 319 PagelD #:751

5D DI Full Square Diamond Pe

© Cc a

Sold By
Ancy YI factory Store

97.3% Positive feedback

Detailed seller ratings
Open: 4 year(s]

Yisit Store Follow

Contact Seller

This Seller's Categories

- Recruitment drop...

- Customer photo
-flawer

- Other types of...
animal

> plant

- landscape
-Carteon

- character

- 2019 new products
+ tool

- 2018 Full square &...
-Round And Square..,
-Custem
=LKA

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Top Selling
- New price
20x30

- 20x20
- 5B

+ Others

Top Selling Products
From This Seller

US $3.60
(15)
20,976 orders

 

 

 

Product Details

Item specifics

ame: ¥l BRIGHT

  

ig: Colored Box

 

jape) Square

 

Packing Method) Rolled Up
Number of Colors: 30-45

Product Description

Feedback (1)

Shipping & Payment

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Seller Guarantees

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3) Full

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Report item

 

- Store Name -YI Drill Handmade Store(Click here to get the coupons)
¢ Porduct: New generation DIY diamond painting

- Brand Name:Y1 BRIGHT(Click here to visit YI Drill Handmade Store)
Application: Home/Hotel/Ofice Decoration & Gift.
Diamond Typeé:100% Round & Square Diamond.

Diamond Painting Size:All size in our store usually means Picture Size.

ltems Include:Full Drill, Canvas, Tray,Point Diamond Drill Pen,Glue,A4
Paper, Box/Paper Package.

Warm Tips:1.Once you have a need or problem,please contact us promptly.
2.If you are not satisfied with our product and service please contact us before
leaving negative feedback,then we will try our best to solve problems and

make you satisfied. This is very important for us and thanks for your

understanding.

https: /Anwinaliexpress,com/store/sale-itermns,/1967689, htral?spm=2714,.7207 0608, 0.0.4adb5001 dvgvlz

  

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 61 of 319 PagelD #:752

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Preduct Details Feedback (1) Shipping & Payment Seller Guarantees

 

US $3.78

(217)

533 orders

 

US $4.78

111 orders

  

US $4.23

224 orders

 

US $3.27

(103)

191 orders
View More >

Trending Products

6 -
a Pica

US $4.56

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US $4.56

(1)

19 orders

 

 
 

14 orders

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 62 of 319 PagelD #:753

©) 5D DIY Full Square Diamond Ps X

 

 

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Preduct Details Feedback (1) Shipping & Payment Seller Guarantees

 

US 33.78

US $4.23

 

 

15 orders

 

US $3.43

View More ¥

 

 
 

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 63 of 319 PagelID #:754

 

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Preduct Details Feedback (1) Shipping & Payment Seller Guarantees

 

 

 

 

Product size

 

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Preduct Details Feedback (1) Shipping & Payment Seller Guarantees

Picture Size
Pasmep KapTMHKY

 

 

 

 

 

Canvas Size
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1:Due to the limit of the measurement, the actual size will certainly have some tiny
errors (less than 2cm).
2:All size in our store usually means Picture Size.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 65 of 319 PagelD #:756

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Feedback (1) Shipping & Paymen Seller Guarantees
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Pincers

 

 

 

Items Include:Drill,Canvas, Tray,Point Diamond Drill Pen,Glue,A4 paper,Box/Paper
Package.

Tips : Please check carefully after you receive the goods,if have problem,please
contract us.

 
 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 66 of 319 PagelD #:757

(©) 5D Dry Full Square Diamond |

 

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Praduct Details Feedback (1) Shipping & Payment Seller Guarantees

 

 

 

1:Open your parcel,check the kits whether all the parts are complete or not.
2:Check the resin diamonds color and the corresponding color code.
3:Select a character (symbol),find the corresponding diamonds.

4:Use the pen to pick up diamond, put it on the corresponding position.
5:After finished, slightly press down diamonds with hand to keep them firmly

 

 

 

 

 

 

 

 

 

attached.
The Time Table of our Work time.
Time Zone Working Time
Beijing Time 08:30 to 17:30
Moscow Time 03:30 to 12:30
US Pacific Time 17:30 to 02:30
Dutch Time 02:30 to 11:30
About Shipping

Cc u arrive time
Federation §~ 23
2~15
ed States 4~ 19
3~17

rance 3~ 17
ed O~13
6~ 21 days
5~ 30
1.We ship by AliExpress Standard Shipping, AliExpress Premium Shipping, China
Post Registered Air Mail, SPSR, Pony Express and DHL.

 

Diamond Supplement Service

We will resend you any diamonds that you may lose.
Some Other Service

1. If you have any questions, please feel free to contact us. And we will reply in 24 hours except
weekends.

2. If any problems comes to you, please don't worry. You can contact us first. We promise we will
try everything possible to help you.

3, Please pay attention to the time difference between us. We work in China.

FAQ:

1.Is the rhinestones round or square?

Full Square/Round Drill DIY Diamond Painting All can be customized

2.Is the diamond painting full or partial?

Is Full Square/Round Drill Dly¥ Diamond Painting

3.ls the rhinestones enough?

The rhinestones is enough. We put 30% extra diamonds in every bags of diamonds. And we
provide Diamond Supplement Service.

4.Do | need to pay for tariff?

It depends on the tariff policy of your country. We usually fill in a lower declared price to help you
avoid the tariff. If you have some special requirement, you can leave a message in the order or tell
us directly.

Note:

1.Please fill in your full name including the first name,Middle name and last name while making the
payment.

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 67 of 319 PagelD #:758

SD DIY Full Square Diarnond F-

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Product Details Feedback (1) Shipping & Payment Seller Guarantees

 

 

1.Please fill in your full name including the first name,Middle name and last name while making the
payment.

2.Please fill in your correct address including your apartment No,Street,City, Region and

Country, Otherwise your parcel might probably be returned!

3.Cut out, make,measurement may cause size deviation (plus and minus1-2cm fluctuation),colour
aberration is due to the monitors,weather, lighting and other factors,Pictures will have different
color in different monitors but this does not affect the appearence of the painting,Please
understand.

4,Our diamond painting are semi-finished, do not include frame. We will provide the diamond
embroidery tools for your make. Although our products is not the cheapest, but the quality of our
goods is the best! When you finish it, you can take pictures of your paintings and send it to us, we
will share ti with other buyers all over the world.

Feedback:

Your satisfaction and positive feedback is very important to us.Please leave positive feedback and
5 STARS. If you are satisfied with our items and services. PLEASE DO NOT leave us 1,2,3,4
stars, because they are equal to negative feedback. If you have any problems with our items or
services, please feel free to contact us first before you leave negative feedback. We will do our
best to solve any problems and provide you with the best customer services.

Packaging Details

8) piece Pathaze Weleht) O.6ke (1.3216)

 
 

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Transaction History 2 transactions in last 6 months. Sort by latest
Buyer Transaction Information
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More Products

 

From This Seller

 

US $3.78 US $4.40 US $3.78 US $2.61
» (217) i re (1) tee ee (13)

533 orders 2 orders 4 orders 45 orders

From Other Sellers

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 68 of 319 PagelD #:759

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Product Details Feedback (1) Shipping & Payment Seller Guarantees
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US $4.14 US $2.75 US $5.19 US $3.58
» (11) : ew (2) : ew (4)

2 orders 38 orders Sarders Sorders

Premium Related Products

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Yintage Horne Decor Full DIY Diarnond
Garage Metal Signs Pin Embroidery Harley Quinn

US $3.82 - 4.51 / piece US $7.20 - 112.50 /
piece

Diamond Painting Cross Stitch Products Related Searches:

diamond painting harley 5d diamond painting harley cross stitch motorcycle
5d diamond mosaic motorcycle diamond painting harley
5d diamond painting harley diamond embroidery diy embroidery harley

Wholesale Diamond Painting Cross Stitch:

Wholesale 5d Wholesale 5d diamond painting harley = ¥yholesale diamond painting harley
Wholesale diamond painting harley Wholesale motorcycle diamond mosaic Wholesale tail box motorcycle
Wholesale diamond painting harley Wholesale Sd diamond painting harley = Wholesale cross stitch motorcycle

Diamond Painting Cross Stitch Price:

decal surface pro 4 Price embroidery harley Price needlework Price
diamond mosaic motorcycle Price harley quinn Price 5d diamond painting harley Price
paint diamond Price harley maiste Price harley quinn sticker Price

Diamond Painting Cross Stitch Promotion:

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Order Number. 101182263736773
Status: The seller has shipped your order
Reminder. Your order should arrive within 25-25 Days, Factors such as delayed logistics and customs clearings may have an impact on the delivery time.
4_ If your order does not arrive on 2079-05-30 _ you can apply for a refund by opening a dispute
2. To extend the Buyer Protection for this order. please click here -

( Select All Product Details Product Status Options
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"Harley Motorcycles” 3D Diamond Embroidery Mosaic — -

Rhinestone Painting Decor LK1
Properties: Size Square Drill 20x40
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If you wish to leave the seller a message or yiew the message history, simply click here.

 
 

Contact Name: Clark Yang
Address: 2305. Clark St.
STE 552
Chicago, Illinois, United States
Zip Code: 60604
Mohile: 6473451332

Tel: +1-
Fax:
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5D DIY Full Square Diamond Painting $8.06 1 piece $8.06 Awaiting Receipt ePacket
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Diamond Embioidery Mosaic Estimated Delivery Time: 25-25 Days
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Size: Square Drill 20x40 o ; ¥
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Contact Name: Clark Yang
Address: 2305. Clark St.
STE 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 6473451332

       

 

5D Dry Full Square Diamond Painting Cross Stitch
"Harley Motorcycles" 3D Diamond Embroidery Mosaic

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April 24, 2019
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Payment

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statement.

Ship to

Clark Yang

230 5. Clark St.
STE 552

Chicago, IL 60604
United States

Category
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if there's a problem, make sure to contact the seller
through PayPal by October 21, 2019. You may be
eligible for purchase protection.

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- $8.86

Seller info
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Invoice ID
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Purchase details

5D Dry Full Square Diamond Painting $8.86
Cross Stitch \"Harley Motorcycles)" 3D

Diamond Embroidery Mosaic Rhinestone

Painting Decor

Item #101182263736773.

 

Total $8.56

Report a problem
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Multiple item - claim

Wednesday, April 25, 2019 Payment to @ Sorbet] Sars Peal) $8.86 USD

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Charm Collection

Soldier Collection —- Firefighting Collection

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= Charm necklace, earingsrings

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Get the real cold with Mars' fresh ice cubes

 

 

    

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Store: Angelove Trendy Store Oper: 5 year{s] 98.2% Positive feedback Follow

Home * All C: > lawelny & Accessones > Bracelets & Bangles > Charm Bracelets

   

Infinity Love Harley love Motorcycle rider Motorsport fans Wrap Bracelet
Black Silver gold Suede Leather Bracelets

2 orders
Price: LSP 6d iar
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ee US $1.40 /plece 5 days left

 

ag Get our app to see exclusive prices +

Metal Color: Ses Ry aS & ay

Shipping: Free Shipping to United States via China Post Ordinary Small
Packet Plus ~

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Estimated Delivery Time: 34 days

Quantity: = 1 +) place (agaa

 

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Returns accepted if product not as described, buyer pays return
shipping fee; or keep the product & agree refund with seller,
View details »

 

Gal On-time Delivery
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Buyer Protection

M Full Refund if you don't receive your order
Full or Partial Refund, ifthe item is not as described

 

Learn More +

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Angelove Trendy Store

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Item specifics
98.2% Positive feedback

   

 

  

 

Detailed seller ratings | SANDEL FINE OF on: Fashion
tem Tyoe: Bracelets en Men
Open; 5 yvearls) A A
Style) Casual/Sporty het, 2) Zinc Alloy
Visit Store Follows Shape\pattern: Heart Waterial Leather
Setting Type: Prong Setting Pracelets Type; Charm Bracelets
Contact Seller “lasp Type) Lobster chain Type: Rope Chain

 

ig_customizec Yes Mocel Nurnber: 331AL-52 ¥
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 100 of 319 PageID #:791

Infinity Love Harley love Moto: >

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Contact Seller

This Seller's Categories

+ 1--- New Arrive...

= 2--- Wedding Bouquets

- Love - Welding...
- Small Wedding...

= 3--- Socks
- Lady socks

— 4-- Jesus &..
- Familiy Bracelets
- Jesus Bracelets
- Herbalife

= §5--- Animal Bracelets
--- Dogs Bracelets
+ Cats Bracelets
--- Horses Bracelets

-- Wolf and Tigers...

= 6--- Sport Bracelets
+ Football...
--- Baseball...
--- Hockey Bracelets
+ Volleyball...
+ Basketball...

+ Soccer Bracelet

= 7--- Hobbies...

--- Motocross...
+ CyCIINE..

-- Dances...

--- Yoga Bracelets

-- Music Bracelets

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--- Constellation...

= §--- Medical...
++ Medical.
+ Country Bracelets
--- Education...
~~ Police Collection
--- Firefighting...
+ Hairstylist...

--- Gymnastics...

= Charm Collection

- Soldier Collection
- Firefighting...
- Awareness Collection

= Charm necklace...
- Charm constellation...

- Charm earring

- Charm rings

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Praduct Details

Feedback (0)

Shipping & Payment

Seller Guarantees

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pe: Prong Setting
Clasp Type: Lobster

is_customizedt: Yes
Product Description

hot sale bracelets
Specifiction:

Type: Fashion bracelets,
Bracelets Type: Charm Bracelets
Metals Type: Zinc Alloy,
Material: PU leather,

Packaging detail:

Package Weight: o.200kg (0. 441lb.)

Bracelets Type: Charm Bracelets
Chain Type: Rope Chain

Model Number: 331AL-52

Package Size: 25cm x 15cm x 10cm (9.84in x 5.91in x 3.94in)
Delivery Time: 3days out.

Good Price With Best Quality.

 

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 101 of 319 PageID #:792

Infinity Love Harley love Moto: >

 

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From This Seller

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Feedback (0) Shipping & Payment Seller Guarantees

 

 
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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 103 of 319 PageID #:794

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Feedback (0) Shipping & Payment Seller Guarantees

  

 

Shipment

1. We will send the goods within 3 business days after the full payment has
been confirmed, If the payment is not available, your order will be closed
automatically.

2. The buyers are responsible for any insurance ,problems and damage which
caused by shipping service such accidents, delays or other issues. Besides the
buyer should to be responsible for any tax and/or duty charged by their
country.

And the goods will be Marked as "gift" or "sample" for your easy customs
clearance and less charge. (if you want to declare the goods as other item
name, or specify an value for custom, please inform us when making the
order}

Warranty and Guarantee

1. All the goods are inspected before shipment, so if you are not satisfied with
the purchase, you can exchange the items in one week and you must contact
us within 24 hours of the receipt of your purchase

2. The shipping and handling charge is not refundable and customer should be
responsible for all the charges of returning and reshipping.

3. All return items must be in its original conditions, including box and
accessories. Men made defects are not guaranteed, such as broken, scratched
and so on.

4. For any items,please send by EMS or your local post when send back.

Feedback
1.Buyer's early confirmation will be highly appreciated after receiving the
items.

2.Since your feedback is very important to our business's development, we
sincerely invite you to leave positive feedback for us if you are satisfied with
our product and service. It'll just take you 1 minute,but this 1 minute has the
extremely vital significance to us.

3.Please contact us before leaving any negative or neutral feedback. We will
work with you to solve any problems. Thank you for your understanding! 6
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 104 of 319 PagelD #:795

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Product Details Feedback (0) Shipping & Payment Seller Guarantees

    

2.Since your feedback is very important to our business's development, we
sincerely invite you to leave positive feedback for us if you are satisfied with
our product and service. It'll just take you 1 minute,but this 1 minute has the
extremely vital significance to us.

3.Please contact us before leaving any negative or neutral feedback. We will
work with you to solve any problems. Thank you for your understanding!

Packaging Details

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Transaction History 3 transactions in last 6 months. Sort by latest #

Buyer Transaction Information

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More Products

 

From This Seller

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4orders |? orders 2 orders 109 orders

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From Other Sellers

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Seller Guarantees

Product Details

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US $1.59 US $1.56
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US $4.12

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32 orders \2 orders |2 orders

Premium Related Products

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10 Color Punk Fashion UA ROCK Wornen's Wide ¢

Leg Pants Yoga Loose
US $20.80 / piece \

Pave Barrel Love Heart
Clasp Bangle MOMENTS

US $14.67 - 18.96 /
piece

Fashion Antique Silver
Infinity Love Heart DoubleMen Wormen Antique

US $1.10 / piece US $1.10 / piece

Charm Bracelets Products Related Searches:

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charm bracelet gold leather cooler motorcycle

harley jacket motorcycle top cushion harley
Wholesale Charm Bracelets:

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Charm Bracelets Price:

motorcycle jewelry for men Price
eagle bracelet Price

bracelet Price

Charm Bracelets Promotion:
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harley Promotion

harley necklace Promotion

     

 

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Wholesale harley

Wholesale camera pandora

children vinyl Price
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davidson harley motorcycle Price

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suede leather bracelet Promotion

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Wholesale wrap leather bracelet
Wholesale bracelet heart

Wholesale compass bracelet

lock monster Price
bracelet skin Price

harley cover Price

cushion harley Promotion
jacket harley Promotion

suede bracelet Promotion

   

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 106 of 319 PagelD #:797

 

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Status: The seller has shipped your order

 

Reminder. Your order should anive within 34-34 Days, Factors such as delayed logistics and customs clearings may have an impact on the delivery time
1If your order does not arive on 2019-06-01 . you can apply for a refund by opening a dispute.
2. To exlend the Buyer Protection for this order, please click here -

(Select All Product Details Product Status Options

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fans Wrap Bracelet Black Silver gold Suede Leather
Bracelets

Properties: Metal Color Gold-color
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shel Plus 2019.04.03 19:01 (GMT-7): Shipment at country of origin warehouse
2019.04.03 19:01 (GMT-7): Shipment left country of ongin warehouse
View More
Refresh

Tracking information is available within 5-10 days. You can track your order here China Post
Ordinary Small Packet Plus_

View Delivery Detail

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ore: Angelove Trendy Store

 
 
 
 
 

=) Contact Seller

  
 

 

If you wish to leave the seller a message or view the message history, simply click here.
Contact Name: Burt Hayes
Address: 230 Clark St Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 312-330-4436

Tek +1-
Fax:
oduct Details Price Per Unit Quantity Order Total Status
Infinity Love Harley love Motorcycle $1.40 1 piece $140 Awaiting Receipt China Post Ordinary Small’ Packet Plus
} rider Motorsport fans Wrap Bracelet Free Shipping
| Black Silver gold Suede Leather Estimated Delivery Time: 34-34 Days
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Product Amount Shipping Cost Total Amoun
US $1.40 US 30.00 US $41.40

 

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7. If Your order does not arrive on 2079-06-01 . you can apply for a refund by opening a dispute
2. To extend the Buyer Protection for this order please click here
Select All Product Details Product Status Options
Oo . infinity Love Harley love Motorcycle rider Motorsport Awaiting Receipt Open Dispute|
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© Tracking information is available within 5-10 days. You can track your order here China Posi
Ordinary Small Packet Plus.

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ore: Angelove Trendy Store Contact Seller
Tf you wish to leave the seller a message or view the message history, simply click here.
Contact Name: Burt Hayes

Address: 230 5 Clark St Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 312-330-4436

          

   
  

  

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oduct Details Price Per Unit Quantity Order Total Status
Infinity Love Harley love Motorcycle $1.40 1 piece $1.40 Awaiting Receipt China Post Ordinary Small Packet Plus
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SellewCenter Buyer 4 r 0 Bag: hin to = +e
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Store Open 6 year[s) 94.3% Positive feedback FOLLOW «234 Followers
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shenzhen, Guangdone, China 4.5 Below Awerage

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4,7 Above Average

4.8 Above Average

Mar 28,201

    

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Top Selling

 

 

 

Plus Size Slim Male Leather Pants Male Trousers Tight Leather
Pants Male Motorcycle Pants Pantalon Homme Pants Men

US $22.35

  

Ds Costume Bling Baby Hats Sparkling Diamond Police Cap
Rhinestone Black White Miltary Hat Roupa Feminina Beyonce

ldsold 0S $40.50

White Big Cap Fashion Hats 2018 Wo
Hat Mihtary Army Polce Uniforms Cat

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Handmade High Quality Metal Frre-pomted Star Men's
|Clothng Cotton Long-sleeve Shirt Menix2?s Tixadshit

US $54.63 asad GS $23.82
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Womenlx2/s Dress Sexy Low-cut Waist Lacing High Waist
Vintage Punk Dress Vestidos Verano 2018 Summer Dress

Mid-length Double-breasted Men's Wr
Woolen Coat Casaco Masculino Abng

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«A
Handmade High Quality Metal Frve-pomted Star Men's Womenix2/s Dress Sexy Low-cut Waist Lacing High Waist Mid-length Double-breasted Men's Wr
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US $54.63 ésold US $23.82 Ssold = 0S $3 3TF

 

Nightclubs Barsman Har Stylist Personality Alternative Black Male Casual Khaki Pants Slim Beige Fashion Trend of The Security White Big Cap Band White Bi
and White Plaid Jacket DJ Singers Stage Leather Clothing PU Male Pants Small Straight Trousers Pants Men Pantalon 2018 Woman and Men Military Hat M
US $52 ‘sold OS $20.94 4sold US $25.44

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Full Leather Auturnn Winter New Men's Tight Leather Pants 2018 Autumn Winter Solid Color Men's Retro Elbow Male Trench Long Design Leather Ove
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US $43.39 scold OS $35.98 Ssold OS $46.79

  

 

 
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Wfen's Jeans 2018 New Hole Small Feet Straight Stretch Men's Summer Denim Shirt Men's Youth Fashion Cotton Black Hole Jeans Men's Shim Patch De
Ripped Jeans for Men Streetwear Denim Hip Hop Men Casual Slim Long Sleeve Shirt Ropa De Hombre 2018 Jeans Men Streetwear Men Clothes 2C
US $178.95 US $173.93 US $184.57

  

2019 New Jeans Men's Stretch Fashion Black Derm Trousers New Jeans Men's Spring and Autumn Models Slim Hole Dark 2018 Spring and Summer Mew Men's:
IMfen's Feet Hip Hop Distressed Jeans Streetwear Demm Trousers Irregular Streetwear Ropa De Hombre 2018 Hiphop Jacket Men Shirt Long Sleeve Streetwi

US $173.93 US $173.93 US $173.40

   

Men's Jeans Straight Stretch Fashion Slim Pants Casual Feet Embroidered Hole Boy Jeans Trend Male Small Straight Tight 2019 New Men's Jeans Hole Pure Bla
hm Men's Denm Trousers Streetwear Men Clothes 2018 Hip Tregular Skinny Jeans Men Hip Hop Demm Clothes Trougers Feet Skinny Jeans Men Hip FE

‘US $176.78 US $135.92 US $101.79

 

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hm Men's Demm Trousers Streetwear Men Clothes 2018 Hip Tregular Skinny Jeans Men Hip Hop Demm Clothes Trougers Feet Skinny Jeans Men Hip FE
US $176.78 US $235.92 US $102.79

   

2019 New Men's Denm Trousers Fashion Black Gray Jeans 2019 Spring and Summer Men's Jeans Slim Hole Small Straght 2018 New Spring and Summer Men's:
Men's Trousers Streetwear Ripped Jeans for Men Hip Hop Casual Comfortable Long Pants Streetwear Mens Skinny Jeans Men's Low Waist Casual Ripped Jeans

US $84.35 US $99.17 US $95.98

 

New Stewardess Hat Front Ceremonial Stage Hat Band Cap wornenix2 ?s belt Punk Corn Eyes Dark Pattern Hippie Wind menix2 ys the2dshirt Men's fashion pers
Fedora Hat for Woman Fascinaters for Women Elegant UP Leather Belt cnturon mujer belts for women cemture femme t-shirt long sleeve sexy home shot

US $8.93 US $9.36 US $14.56

 

 
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[Fashion turtleneck sleeveless thread knitted hugh-elastic sexy Men's Casual T-shirt Sold Color Fashion Large V-neck Long- Paillette Costume Jazz Dance Costume
sleeved Slim T-shirt Bottommg Shirt Six-color Dy Costume Mirror Dress Beyonce Ra

  

shm strapless racerback knitted top basic
US $28.49 US $17.76 US $28.94

  

Men's Casual T-shirt Men Txedshrt Camisetas Hombre Men's Sexy Underwear Patent Leather Vest Skinny Leather Sweatshirt Hooded Men's Jacket Men
Stranger Things Summer Top Harajuku Long Sleeve T Shirt Bar Stage Performance Short-sleeved Clothes Erotic Lingene Solid Men Clothes 2018 Hip Hop Hoe

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(UP Leather Belt Cinturon Myer Belts for Women Cemture Conductor Security Big Hat Cap Uniform Men and Women pattern sexy low-cut skull short design °
US $18.20 US $22.09 US $22.46
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stranger Things Summer Top Harajuku Long Sleeve T Shirt Bar Stage Performance Short-sleeved Clothes Erotic Lingene Solid Men Clothes 2018 Hip Hop Hoe
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Womenlx2/s Belt Punk Corn Eyes Dark Pattern Hippie Wind Railway Big Cap High-speed Rail Tram Attendant Hat Women's spring and summer fashion ro
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US $18.20 US $22.09 US $22.46

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Punk Men's Leather Motorcyc|

 

 

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store: Ao Mi Ke Rong Official Store Oper 6 year(s] 94.3% Positive feedback Follow

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Wlen's Clothing: = Jackets & Coats > Fauk Leather Coats

Punk Men's Leather Motorcycle Slim Harley Leather Jacket Chaqueta De
Cuero Para Hombre Men Leather Jackets Jackets and Coats

1 order

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US $ 124.34 - 133...

 

Price:

 

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aa Get our app to See exclusive prices + Bulk Price =
Color: fa
Size; Ml L AL AXL AMAL axl sab

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Shipping: Free Shipping to United States via AliExpress Standard Shipping

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Estimated Deliwery Time, 25 days &

Quantity: = 1 + | plece (62 pieces avallalle)

 

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Store ‘|
Bee etksh [ Get Seller Coupons 7 US $3 off per US $50

 

vecury Policy f=) Returns accepted if product not as described, buyer pays return
shipping fee; or keep the product & agree refund with seller,

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Guarantees! 60 days
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View More ®

Buyer Protection

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Full or Partial Refund, if the item is not as described

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Store

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* Get US $3 off on orders over US $50 ss
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 115 of 319 PagelD #:806

(©) Punk Men's Leather Motorcyc|

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Sald By

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Store

95.3% Positive feedback

Open: 6 year(s)

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HOT

Focus on
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-FB

“FC
Update
Stock Clear
-CA

-CB

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-C

Promotions %

Top Selling Products
From This Seller

US $22.35

(11)

16 orders

 

US $40.50
(4)

10 orders

 

 

 

 

| @ 4S https: (Aww. aliexpress.com item Punk-Men-s-Leather-Motorayde-Slim-H v == @ tr Ii O =
al
Product Details Feedback (0) Shipping & Payment Seller Guarantees Report itern

* Get US $3 off on orders over US $50
* Get US $10 off on orders over US $150
* Get US $35 off on orders over US $500

(Incl. shipping costs}

Time left until promotion ends: 7d 0h Om

Shop Now

Item specifics

Ag Mi Ke Rong

Type: Leather & Suede

 

h: REGULAR
eth(crn]: Full
STANDARD

jac: No
REGULAR
ric Type: Broadcloth

Zipper

Product Description

 

 

oe Men
al; PU

=: Casual

 

viaterial: Polyester
ion: None
tc None
2
ollar: Stand

se: Solid
 

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 116 of 319 PagelD #:807

Punk Men's Leather Motorcyc|

 

 

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Feedback (0) Shipping & Payment Seller Guarantees

 

 

US $19.23
(2)

6 orders

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 117 of 319 PagelID #:808

Punk Men's Leather Motorcyc|

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Preduct Details Feedback (0) Shipping & Payment Seller Guarantees

 

US $26.92
1)

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US $46.36

 

 

Packaging Details

tType: piece Package Weight: 1.0ke (2.201b.)
re: 25cm x 20cm x 10cm (9.84in x 7.87in x 3.94in)

 

 

Transaction History 1 transactions in last 6 months. Sort by latest &
Buyer Transaction Information
GS tes, 1 piece
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 118 of 319 PagelID #:809

Punk Men's Leather Motorcyc| >

 

 

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Product Details Feedback (0) Shipping & Payment Seller Guarantees

 

Packaging Details

Type: piece

  

kage Weight: 1.0ke (2.201b)

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2: 25cm x 20cm x 10cm (9.84in x 7.87in x 3.94in)

Transaction History

1 transactions in last 6 months. Sart by latest #
Buyer

Transaction Information

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1 piece

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More Products

From This Seller

 

US $22.09 US $45.68

US $20.94 US $25.44
(3) (1)

4orders 3 orders

From Other Sellers

US $44.60 US $33.37
(705) (520)

 

 

US $52.00
(112)

US $15.32
(272)
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 119 of 319 PagelD #:810

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Discover trending new styles,

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> Need Help?

 

place Order Pay Success order Complete
Order Number. 101614759673493
Status: The seller has shipped your order
Reminder. Your order should anive within 25-25 Days, Factors such as delayed logistics and customs clearings may have an impact on the delivery time.
4_ If your order does not arrive on 2019-07-05 _ you can apply for a refund by opening a dispute
2. To extend the Buyer Protection for this order. please click here -
( Select Al Product Details Product Status Options
A Punk Men's Leather Motorcycle Slim Harley Leather Awaiting Receipt Open Dispute
Jacket Chaqueta De Cuero Para Hombre Men
Leather Jackets Jackets and Coats
Properties: Color Black Size L
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Confirm Goods Received
istics Information:
snational Shipping Tracking Number Remarks Details
Tipany
ixpress Standard LP001337 14439892 Refresh
Peing mg The seller is using AliExpress standard The will be di: he

within 5-7 days after seller has sent out the package. You can also go to IB Express Service
check the tracking information.

 

‘hat's AllExpress Shippino ?

fa Financial

ore: Ao Mi Ke Rong Official Store | ©) Contact Seller

View Delivery Detail

  
    

Tf you wish to leave the seller a message or view the message history, simply click here.

 
 

Contact Name: Ulrich Penn
Address: 2303. Clark St

Ste 552

Chicago, Illinois, United States

60604

8473451332

+1-

Zip Code:
Mobile:
Tel:

Fax:

Status

oduct Details Price Per Unit Quantity Order Total

Punk Men's Leather Motorcycle Slim
Harley Leather Jacket Chaqueta De
Cuero Para Hombre Men Leather

$71.84 AliExpress Standard Shipping
Free Shipping

Estimated Delivery Time: 25-25 Days

$71.84 1 piece Awaiting Receipt

Jackets Jackets and Coats Th

Color @ Black Processing Time: 5 Days

Size: L

(bu ding)

Tel
Product Amount Shipping Cost Total Amoun
US $71.64 US 3.0.00 US $ 68.84
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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 120 of 319 PagelD #:811

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(2 My AliExpress ; Manage Or... Lt
Reminder, Your order should arrive within 25-25 Days, Factors such as delayed logistics and customs clearings may have an impact on the delivery time.
4. if your order does not arrive on 2079-07-05 , you can apply for a refund by opening a dispute
2. To extend the Buyer Protection for this order, please click here .
(1 Select All Product Details Product Status Options
(i Punk Men's Leather Motorcycle Slim Harley Leather Awaiting Receipt Open Dispute
Jacket Chaqueta De Cuero Para Hombre Men
Leather Jackets Jackets and Coats
Properties: Color Black Size L
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Confirm Goods Received 2
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Tracking Number

xpress Standard LP001337 14439892

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‘hat's AllExpress Shipping ?

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ore: Ao Mi Ke Rong Official Store Contact Seller

 

Details

Refresh

The seller is using AliExpress standard shipping. The tracking information will be displayed he
within 5-7 days after seller has sent out the package. You can also go to IB Express Service
check the tracking information.

View Delivery Detail

 

If you wish to leave the seller a message or view the message history, simply click here.

Contact Name: Ulrich Penn
Address: 2305. Clark St
Ste 552
Chicago, Illinois. United States
Zip Code: 60604
Mobile: 8473451332

Tel: +1-
Fax:
oduct Details Price Per Unit Quantity Order Total
Punk Men's Leather Motorcycle Slim $7184 1 piece $7184

Harley Leather Jacket Chaqueta De
Cuero Para Hombre Men Leather
Jackets Jackets and Coats

Color #@ Black

Size: L

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by Category

Product. Pr

 

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Status

Awaiting Receipt AliExpress Standard Shipping
Free Shipping
Estimated Delivery Time: 25-25 Days

Processing Time: 5 Days

    

          

ProductAmount Shipping Cost Total Amoun
US $71.84 US 20.00 US 3 63.64
AliExpress Multi-Language Sites
Russian Pomquese French Genvan itatian Gere ) Jacanesh fale
Vietname
Alibaba Group
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Send & Request

 

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HELP

CONTACT US

May 3, 20419

Pe a SIRS)

Payment

Paid with
VISA x-5176
You'll see "PAYPAL *PAYPAL MCBH PAY" on your card

statement.

Ship to

Ulrich Penn

230 S. Clark St
Ste 552

Chicago, IL 60604
United States

Category
Clothing

Transaction ID

5BU249055A0064435E

Print details

Need help?
\f there's a problem, make sure to contact the seller
through PayPal by October 30, 2018. You may be

eligible for purchase protection.

SECURITY FEES

Seller info

nie AIRS)

Invoice ID

120201101151219050300800034_101614759673493

Purchase details

Punk Men's Leather Motorcycle Slim
Harley Leather Jacket Chaqueta De Cuero
Para Hombre Men Leather Jackets Jackets
and Coats

Item #101614759673493

- $71.59

$71.59

 

FEEDBACK

Total

Report a problem

$71.59

 

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 122 of 319 PagelD #:813

 

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| P Resolution Center - PayPal

 

 

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Multiple item - claim

Friday, May 3, 2029 Payment to RlntiGiim i Aires) $71.59 USD

Which items do you need to contact us about?

Seller contact
PELs SSRs)

(1) 101614758673493 - Punk Men's Leather Motorcycle Slim Harley Leather Jacket 649366499 @qq.com
Chaqueta De Cuero Para Hombre Men Leather Jackets Jackets and Coats

© Didn't receive
O Not as described

What is the category of your purchase?

Oo Physical item
© Digital good / service

Compose message to Paypal

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Return to transaction

HELP CONTACT US SECURITY FEES FEEDBACK
 

 

 

 

 

oCar Store
4,7 Below Average

Feedback

Yisit Store FOLLOW

ED Motorcycle Headlight

3/4 INCH H4 LED Headlight DRL For Harley Bike

SHOP NOW

 

 

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 123 of 319 PageID #:814

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Seller Center Buyer Protection Help 0 Save big.an our app! ta = !
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Express m shoeing fo ust
Store AtubeixMotoCar Store Open 1 yearts) 96.0% Positive feedback FOLLOW 9? Followers
Detailed seller ratings (Qut of 5)
Guangzhou, Guangdong, China 47 Below Average
This store has been open since
Jan 7.2018

a? Above Average

     
 

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LED Headlight

DRL Original Complete
for BMW R 1200 GS 2008 2009 2010 2011

SHOP NOW

NEW STYLE ATTAPULGOSCOPE ia te

   

LED Headlight

Hiflow beam with DRL
For BMW F&00GS LED Headlight / FF00GS / F650GS / FE00R

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4.5 Inch LED Fog Lights

For Jeep Off raod SUV Truck

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Harley Davidson Touring Victory Motorcycle

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LED Brake Light

Smoke Len
Car Universal 2pcs A Pillar Hood 3inch LED Off raod Lights 12V Car Steel Dead Pedal Left Side For 07-18 Toyota Tundra LED LED Rear
LED Work Light bar Mounting 24¥ 6500K 20W with Angel Eyes Foot Rest Kick Panel For 2007 3rd Brake Light High Mount Larmnp Bat
US $6.42 US $5.87 US $8.10 US $23.39 US $2
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R1200gs Adventure 2013-2016
Bracket for fog lights

  

For BMW motorcycle parts R1200gs Adventure 2013 2014 Front Fender For BMW R12Z00GS Water Cooled 2013 2014 Motorcycle Parts For BMW R12Z00G.
2015 2015 Water Cooled Auxhhary Light bracket 2015 2016 Motorcycle Part Beak Extension Wheel Cover Front Fender Beak Extension Extender

US $22.89 US $18.99 US $18.99

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5.7 Sinch LED Headhght For Harley Motorcycle Tour Super For Jeep Wrangler Turn Signal Lights Gray Five Star LED for Harley Headhght 5.75 inch Daymaker ]
Bright 72W Motorcycle Daymaker Headlamp projector Jeep Accessories J JEU & Unlimited 2007-2017 LED Dring Lights For Harley 883 Iro
US $39.99 US $22.45 US $39.99 *

 

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A
S. Finch LED Headhght For Harley Motorcycle Tour Super For Jeep Wrangler Turn Signal Lights Gray Five Star LED for Harley Headhght 5.75 inch Daymaker ]
Bright 72W Motorcycle Daymaker Headlamp projector Jeep Accessories J JEU & Unlimited 2007-2017 LED Drtwing Lights For Harley 883 Tro
US $39.99 US $22.45 US $39.99

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Winey i AAD

 

2019 Newest 5D 5.75INCH LED HEADLIGHT Daymaker For Jeep JE Super Bright Tail Light Reverse light Real Back 2019 Years New Smoke LED Tadhght
for Harley Davidson Dyna Sportster Iron 883 72W LED Up Turn Signal Lamp LED Tail Lights for Jeep Wrangler 2015-2019 Harley Davidson Ultra Lim

US $39.99 US $98.10 US $44.99

 

Applicable to Harley motorcycle LED rear tai light Fatty 883 LED 40w Motorcycle Work Driving Light Spot Beam Fog 20W 3inch LED Spot Work Light Driv
1200 Ghding rear tail light Brake light Lamp For Car Off road Motorcycle Boat ATV UTV Motorcycle Atv LED Light working 12
US $44.99 US $16.92 US $13.50

LED Motorcycle Headlight

For Harley V Rod VRSCF VRSC VRSGR 2002-2017

 

 

 
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BEST SALE

 

4" Inch Amber Yellow 60°V LED Fog Lights For Jeep For BMW HP4 310008 S1000RR $1000KR R12o0G8 7" SOW Motorcycle LED Headhght Ar
Wrangler 97-2018 JE TI LJ Of Road Fog Lamps R1Z00R R12Z0ORS Motorcycle Front or Rear LED Turn Signal Signal Halo DRL for Harley-Davidson

US $17.85 f4sold OS $8.39 Seold = OS $167

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Ht" Inch Amber Yellow 60W LED Fog Lights For Jeep For BMW HP4 S1000R S1000RR $1000KR R1Z00GS T s0W Motorcycle LED Headhght Ar i
(Wrangler 97-2018 JE TJ] LJ Of Road Fog Lamps RiIZN0R R1Z00RS Motorcycle Front or Rear LED Turn Signal = Signal Halo DRL fer Harley-Davidzon
oid OS BEGET

US $17.85 ft scll = OS $8.39

 

Black V-Rod Muscle Night Rod LED Motorcycle Headhght Smoke LED Tail Light For Harley Spo:
For Harley ¥ Rod VRSCF VESC VESCE 2002-2017 Road Eing Low Rider/sportster softal

US $19.80

5 inch 6OW wath bracket led fog light, led work light Round
for Jeep wrangler Harley motorcycle led passing fog light bike

US $13.65 soll US $68.27 35 sold

Amber left

 

Red 12V 30W Aftermarket LED Tal I

Dual A-Pillar Light Brackets Dual Lower Windshteld LED 5.75 inch LED Daymaker Headhght Housing Mounting Bracket
Replacement for Harley Davidson Mot

(Work Light Mounts Kit For 2007-2017 Jeep Wrangler JE / Black for Harley Davdson 2004-2014

US $10.79 Siscld = =S $27.82 aso | OS SELES

 

 
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OT SAE ES 7 inch Round LED 90°" Headlamp LED 4 lens Projector 7" LED Headhght For Harley Davidson Motorcycle LED Brake Tail Light For -
Headhght with DRL for Harley Davidson Yamaha Road Star Motorcycle Projector Daymaker HID LED Light Bulb For FLSTF Night Tran Touring Softail Spo
US $15.92 sod OS $34.84 Meold OS $27.90

Escaper Buddy Connectable Traction Mat

for Off Road Mud, Sand, Snow, Vehicle Extraction, Red, Green 42inch : [
Green Red

 

9./5 Inch LED Motorcycle Headlight

Pulg and Play
for Honda VTX 1300 1800 5 3/4 INCH H4 LED Headlight DRL For Harley Bike

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9./5 Inch LED Motorcycle Headlight

Pulg and Play
for Honda VTX 1300 1800 5 3/4 INCH H4 LED Headlight DRL For Harley Bike

   
   
  

SHOP NOW

 

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Wholesale Motorcycle Projeco! >

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Store: AtubeixMotoCar Store Open: 1 year{s) 96% Positive feedback Follow

Home

Wholesale Motorcycle Projecotor Harley Daymaker 5-3/4" 5.75 inch LED
Headlight Harley Dyan Motorcycle Bullet Headlight

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3 orders
@. Price: LIS $3600 37 80 ynjoce
& ae US $35.06 = 36 (piece Rapa Woh 6mn55s
a Get our app to See exclusive prices + Bulk Price «
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ne Shipping: Free Shipping to United States via AliExpress Standard Shipping

   

   

 

 

 

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Total Price: Depends ant tat fou sel
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telus
| US $4 offperUS $49 +
Return Policy f) Returns accepted if product not as described, buyer pays return
shipping fee; or keep the product & agree refund with seller,
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60 days
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* Get US $1 off on orders over US $49

HB ROSIE SPEWACK * Get US $2 off on orders over US 879

Detailed seller r
* Get US $3 off on orders over US $109
Open: 1 yearts) (Incl. shipping costs)
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Wholesale Motorcycle Projeco. 2%

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This Seller's Categories

- Best Price wholesale

“Finch Headlight Tritt...
Finch Headlehe Thin...
-ForvAMAHA,

-Led Turn Signal...

— For BMV Motorcycle
BMY 5310 G31065,.,
- BMW LED Headlight
- BMW Headlight cover...
- BIW" LED Turn Signal

— For Jeep Off raod SUV
-jeep Headlight
-jeep For Lights
- jee Tail Light
-jeep turn signal...
-jeep Renegade Lights
-Splash Guards Mud,.,
- Off Road Mounting...

-|eep modification...

— For Harley Motorcycle
- Headlight for...
Finch and 4,5inch..
-4.5 inch LED Foe...
- Harley Tail ligt
-For¥ rod Heaclight
-For Road Glide,
-For Fat Bob Headlight
-For Honda, victory
- Motorcycle...

~ Truck Lights Square
-587 LED Headlight
-4¥6 LED Headlight
-ATV¥ Headlight RZR..,
- SRO Brake Light
- New Work Lights

= LED Work Light
-Pods Fog Light
- Forklift Lights
- Cab Marker Lights
- Dodge Foe Light
-Ford Foe Light
-Toyota Fog Light
-RGB Rock Light
-GOLIGHT

— Finch LED Headlight...
-Adaptive finch Lights
- RGB Finch LED,
-40W Finch Led,
-S0Y Finch Lect,
-75W Finch Led,

 

 

@) =) https:/Awnw.aliexpress.com item Wholesale-Motorcycle-Projecotar-Harley “ *** |

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Product Details Feedback (0) Shipping & Payment Seller Guarantees
Shop Wow b ' ee -
fe
Item specifics
ne) Atubeix (oe) Headlight Assembly
Wattare: 45 =D Chie Cf ree
Voltage: 12-30¥ ‘ower 4fwean high beam, 30w on low beam
Color Temperature 6000K-6500k uren) 4000LM on high beam, 2800LN on low beam
B Cdittension: 5.75" haduet hehe gem
Waterproof levef; P65 \laterial Diecast Aluminum Housing

tesgan: 50000 hours

Product Description

Wholesale Motorcycle Projecotor Harley Daymaker 5-3/4" 5.75
inch LED Headlight Harley Dyan Motorcycle Bullet Headlight

Specification

Power 45

Voltage 12-30V DC
Color Black Chrome

Aluminium housing

Beam high3Ow low4Sw beam
Size 5.75 Inch
Lisage Headlight

Waterproof [P67

Warranty 1 year

 

Life span 30000 hours above life time
Lumen High33o0lm, Low2800lm
Size 5 3/4"

Compatibility

'06-'11 VRSCD and VRSCD%,

'{5-later XG,

'O4-later XL,

(00-13 XR,

‘91-later Dyna (except FLD and '91-'05 FxDWG),

'84-'99 FLSTS and FxsTs,

'O8-'11 FLSTSB,

'05-'06 FLSTSC,

'{0-12 FLSTSE,

'O0-later FXCW, FXCWC, FXS, FXSB, FXSBSE, FXST, EXSTB, FXSTC and FXSTD models,

Some models require Vibration Damper P/N 67700059 or Housing Kit P/N 67700093,

‘Slot fit for 2002 Harley Davidson Sportster, 2007 Harley Davidson Vrod, Harley Vv-rod Muscle VRSCF, 2017
Iron 883

Products Pictures
Recently Viewed ©
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 134 of 319 PagelD #:825

Wholesale Motorcycle Projeco’

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- Adaptive finch Lights me

- RGB Finch LED...
- 40 Finch Led...
-S50W Finch Led... Products Pictures
- 75 Finch Led...

- 80 Finch Led...

-S0W Finch Led...

- 2018 New inch LED...

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Product Details Feedback (0) Shipping & Payment Seller Guarantees

 

 

= Pair 7inch LED...
- 40WV Finch LED...
-50w Finch LED...
- 7 5w Finch LED...
- BOW Finch LED...
-90w Finch LED...
- 36w Finch LED...
- RGB Halo Finch LED...
-45W Finch LED...

= 5.75 inch LED...
-S57E SS7EC 40
-557C 557H 40 SOW
-557FA FB FC FD 45¥¥
-HS01 A501 2018 New.
-RGB5.75inch
-BS01 F2vv
- 557A S57¥
-|557 Adaptive...
-5.75 [ach Trim Ring
-5,75 Inch Bracket...

+ Others

View More &

 

Top Selling Products
From This Seller

 

US $15.92
(14)

25 orders

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US $13.65
rte (19)
37 orders

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US $27.90
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Wholesale Motorcycle Projeco’

 

 

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US $27.50
(6)
24 orders

US $11.34
(14)

25 orders

 

  

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US $42.08
(12)

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Trending Products

US $135.20

US $6.10

 

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Atubeix

 

US $68.65

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 136 of 319 PagelD #:827

Wholesale Motorcycle Projeco

Cc a

US $20.69

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US $7.20

4.65inch Fatbob Headlight

 

 

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High Beam Low Beam

 

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(©) Wholesale Motorcycle Projeco.

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Shipping & Payment Seller Guarantees

 

 

1 Pair Black 4,5" Inch LE
DB fog Lights 6000K bihit

USD 36.78)

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Ci Passing Light F

USD 36.78) pair

 

4 lens Projector 7" LED H
eadlight For Hatley Davi

 

6 Lens 5.75" Headlight 5
-3/4"5,75" LED Projectia

USD 35.14-36.91/¢

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5 3/4" 7" LED Headlight
Wire Harness Adapter F

USD 7.19/piece

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7 inch Round Headlight R.
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7" Round Harley Dayrniak
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Make sure your name, full address, including city, street, zip code is correct, if the wrong the address or zip code lead
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It will depend on the shipping method, ( We delivery order after receiving AliExpress notice within 3days)

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range. But please note that we cannot guarantee that all parcels are not required to pay customs duties.

2). According to the rule of Ali, buyers have the duty to clear the custom and get the parcel, if the parcel produces tariff,
please pay for the tax, and we will not be responsible for any taxes.

Prasat mela eel

In our AliEXpress store listing price, not including DHL remote costs, tariffs, or receive any commission by DHL cus-
toms clearance and warehousing costs.

1). Defective or wrong item will be offered replacement or refunds after offering the pictures to prove it.

Order unfinished, a refund will be offered through the dispute.order finished, a refund will be offered by PayPal.
2).you can return any products you have bought, even these in perfect condition.but the buyer needs to pay the return
shipping costs.

3). In all cases, buyers pay shipping fees at their own cost to return products for exchange or refund.

We will be responsible for the postage of replacements. Refund will be made upon receipt of the returned item.
Eee eee = EL

If you have more questions with our products or more questions of how to buy, Please contact us us AliExpress email
or Aliwangwang. We will reply you on time.

 

Peat fia:

Atubelx, established in 2017 a professional manufacturer and exporting LED lights, Ha Recently Viewed ©

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 143 of 319 PagelID #:834

Wholesale Motorcycle Projeco’

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have experience in manufacture, design and assemble the lighting. Now we move forward to build our

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Packaging Details

piece Package Weight: 1.0ke (2.20lb.)
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Transaction H istory 3 transactions in last 6 months. Sort by latest #

Buyer Transaction Information

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More Products

 

From This Seller

 

Recently Viewed @

  
 

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 144 of 319 PagelD #:835

Wholesale Motorcycle Projeco

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Product Details

Feedback (0)

Shipping & Payment

Seller Guarantees

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US $255.50
» (6)
26 orders

From Other Sellers

 

US $41.30
(3)

6 orders

Premium Related Products

US $257.60 US $305.44
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US $11.17 US $19.98
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TCMT One Set Saddlebag Unique Elegant Lovely

Latch Lids Harcware
US $110.40 / set

Products Related Searches:

psx2day
daymaker motorcycle headlight
jeep 1997

Wholesale :

Wholesale cover harley
Wholesale machine tool lamp

Wholesale paxzdw
Price:

harley led Price
yamaha fjr accessories Price

street 750 harley Price
Promotion:

jeep 199? Promotion
universal headlamp Promotion

citroen shirt Promotion

Swan Brooch Pin For
US $10.16 / piece

yamahari abs
harley fx
plaid rabbit

Wholesale yamaha direct
Wholesale roof rack for rc

Wholesale yamaha rl abs

lecl harley Price
headlight motorcycle daymaker Price
field Price

plaid rabbit Promotion
suede car Promotion

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US $68.27
: (8)
35 orders

 

US $14.45
(3)

orders

led lamp 24¥ truck
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Wholesale daymaker road glide
Wholesale harley
Wholesale led lamp 24 truck

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msp430e2553 Promotion

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 145 of 319 PagelD #:836

   

 

 

   

  

 

 

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Express > Order List > Order Detail

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Place Order Pay Success a. wl Order Complete
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Order Number. 99621913183493 Bs
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Status: The seller has shipped your order

Reminder. Your order should arrive within 23-23 Days, Factors such as delayed logistics and customs clearings may have an impact on the delivery time

1. If your onder does not arrive on 2019-05-09 _ you can apply for a refund by opening a dispute

2. To extend the Buyer Protection for this order, please click here _
(Select All

oo

(rt & Wholesale Motorcycle Projecotor Harley Daymaker

Product Details

5-3/4" 5.75 inch LED Headlight Haney Dyan
Motorcycle Bullet Headlight

Properties: Color Orange

(Steve ST)

Bal

Confirm ‘Good 5 Received

istics Information:

Product Status

Awaiting Receipt

Details

 

Options

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2019.03.15 22:21 (GMT-7): Despatch from Sorting Center

2019.03.14 20:53 (GMT-7): Despatch from Sorting Genter
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Refresh

9 Tracking information is available within 5-10 days. You can track your order here ePackeL

View Delivery Detail

 

If you wish to leave the seller a message or view the message history, simply click here.

Contact Name > Tracy Penn
Address: 2305. Clark St
Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 8473451332
Tel: +1-

Fax:

oduct Details Price Per Unit

Quantity Order Total

Wholesale Motorcycle Projecotor
a Harley Daymaker 5-3/4" 5.75 inch

LED Headlight Harley Dyan

Motorcycle Bullet Headlight

Color J Orange

(Steve ST)

Ea

$ 36.00 1 piece 3 36.00

Status

Awaiting Receipt

 

AliExpress Standard Shipping

Free Shipping

Estimated Delivery Time: 23-23 Days
Processing Time: 7 Days

 

 

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Total Amoun

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US $35.00

 

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 146 of 319 PagelD #:837

 

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Contact Name : Tracy Penn

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Details

2019.03.15 22:21 (GMT-7): Despatch from Sorting Center
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» Need Help?

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© Tracking information is available within 5-10 days. You can track your order here ePacket

View Delivery Detail

Tf you wish to leave the seller a message or view the message history, simply click here.

Address: 2305. Clark St
Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 8473451332
Tel: +1-
Fax:
oduct Details Price Per Unit Quantity Order Total

a. LED Headlight Harley Dyan
Motorcycle Bullet Headlight

Color. JF Orange

(Steve ST)

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Service. Disputes & Repons, Guy
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Wholesale Motorcycle Projecotor
Harley Daymaker 5-3/4" 5.75 inch

 

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Status
Awaiting Receipt AliExpress Standard Shipping
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Estimated Delivery Time: 23-23 Days
Processing Time: 7 Days

 

Product Amount Shipping Cost
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AliExpress Multi-Language Sites
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< Activity

March 7, 2019

ZHULISI - $36.40
Payment
Paid with Seller info
VISA x-5176 ZHULIS!
You'll see "PAYPAL *“ATUBEIX ATUBELX” on your card http://www.atubeix.aliexpress.com
statement.
Invoice ID
Ship to 99621913183493

Tracy Penn

230 5. Clark St Purchase details

 

Ste 552 Wholesale Motorcycle Projecotor Harley $36.40
Chicago, IL 60604 Daymaker 5-3/4" 5.75 inch LED Headlight
United States Harley Dyan Motorcycle Bullet Headlight
Item #99621913183493.
Category
Auto Supplies
Total $36.40
Transaction ID
FIUGOSS6CG7844E21X
Print details
Need help?
If there's a problem, make sure to contact the seller Report a problem

through PayPal by September 3, 2019. You may be
eligible for purchase protection.

HELP GONTACTUS SECURITY FEES FEEDBACK
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| P Resolution Center - PayPal

 

 

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Multiple item - claim

Thursday, March 7, 2029 Payment to ZHULISI $36.40 USD

Which items do you need to contact us about?
Seller contact

ZHULISI

(1) 9s621913183493 - Wholesale Motorcycle Projecotor Harley Daymaker 5-3/4" 5.75 atubeix1@hotmail.com

inch LED Headlight Harley Dyan Motorcycle Bullet Headlight

© Didn't receive
© Not as described

What is the category of your purchase?

Oo Physical item
© Digital good / service

Compose message to Paypal

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Return to transaction

HELP CONTACT US SECURITY FEES FEEDBACK
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BABY211 Store - Srnall Orders |

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Store BABY211 Store

Mar 6,2019

US $7.68

 

(Alissa White-Gluz- ARCH ENEMY T-SHIRT 2019
New Fashion T shirt Brand Hip Hop Print Men Tee

 

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Sun Records T Shirt 100% Official Import Elvis
Presley Roy Orbison Johnny Cash Comfortable t

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(Alissa White-Gluz - ARCH ENEMY T-SHIRT 2019

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New Fashion T shirt Brand Hip Hop Print Men Tee Prealey Roy Orbison Johnny Cash Comfortable t Vintage Retro ,volewagen 100% cotton tee shirt, tops = 2L homme col rond mote
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BABY211 Store - Small Orders '

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AliExpress Multi-Language Sites

      

 

 
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Born To Ride Harley Motorbike

 

 

 

 

 

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Casual Short Sleeve Print tees cheap wholesale

   

Born To Ride Harley Motorbike Mens T-Shirt Size $-XXL Comfortable t shirt

 

1 order
f Price: ee er ee
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ag Get our app to see exclusive prices + Bulk F
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Shipping: US $0.53 to United States via AIIExpress Standard Shipping ~
Estimated Delivery Time: 25 days @
Q Mouse over to zoomin Free shipping far orders over US $50.00 via the selected shipping method
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US $2 off per US $30

 

f=) Returns accepted if product not as described, buyer pays return

shipping fee; or keep the product & agree refund with seller,

View details b

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Payment:

Buyer Protection
M Full Refund if you don't receive your order
Full or Partial Refund, if the item is not as described

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BABY?211 Store

Product Details Feedback (0) Shipping & Payment Seller Guarantees

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Learn More >

Report item

 

Time left until promotion ends: 29¢ 0h Om

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Visit Store

 

* Get US $2 off on orders over US $30
* Get US $5 off on orders over US $60
* Get US $8 off on orders over US $90

(Incl. shipping costs)

 

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Born To Ride Harley Motorbike

© C tt

 

 

 

 

 

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yisit Store Follow

Contact Seller

Item specifics

 

  

 

  

ne 2) HusTex

This Seller's Categories Catia

ollan O-Neck
* Others

tern Tye; Print
| ef

alric Type: Broadcloth le ick: No

eriden Men
Top Selling Products

F ps Type: Ti Thickness: Standard

From This Seller ee ne

sige) SML AL AXL XXXL olor Black White, Grey.Blue,. Navy. Purple, RecLArny Gre...

 

 

Orassion: Game Club/Party/Streetwear/Dancing/Rap/Hip ... jesien Yes, Send us Text or Photo by Message

 

      

ec Yes,Send us Text or Photo by Message oe! Short Sleeve

 

 

Material 100% Cotton Mec

Garment Care Machine Washable

 

US 57.68 Product Description

J afders Product Details:

Size Specification:

Note 1:Please measure you usually wear clothes, not your body,

Note 2:Size: There are 5 sizes (5 WIL XL 2XL 3XL) available for the following listing, ASIAN SIZE 1 inch = 2.54 cm 1 cm = 0.3937 inch,
Note 3:lf you dan't know the size selection, please tell us your height(CM) and weijeht(KG], can suggest your size we therefore, But
you should make their own decisions.

Note 4:The actual item's colour maybe slightly different fram the picture shown due to the lighting,

Note 5: Washing instruction: * No bleach * Inside out * Cold water (no more than 30C)

US $8.78
ee es 2

2 orders

 

size

 

Po
err
coi

US $12.66

0-110

4-200

 

AChest
B.Length
C.Sleeve

A4 paper size logo, hoping you will like it.

US $7.58

2 orders

 

US 57.68 ;
SCR LUC tl

2 orders

 
 

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 155 of 319 PagelD #:846

 

Born To Ride Harley Motorbike

Se Cc a

US $7.68

2 orders

Trending Products

US 37.68

US $7.74

 

US $7.58

 

US 37.68

US $7.62

 

 

| @ https. (Asa. aliexpress.com /item /Born-To-Ride-Harley-Motorbike-Mens-T “ *** tr i\ ©

 

Preduct Details Feedback (0) Shipping & Payment Seller Guarantees

 

 

Save Money is Easy

 

 

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 156 of 319 PagelD #:847

   
    

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Buyer Protection ' Ship to

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Express > Order List > Order Detail z=
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Place Order “ * Shipment Order Complete =

 

 

Me

Order Number. 100253367200085
Status: The supplier is processing your order

Reminder. Your order will be automatically cancelled if the seller fail to ship your order in ea Sdays Whours 14minutes 03seconds

Extend Processing Time Request Order Cancellation

a Financial

ore: BABY 211 Store (e Contact Seller

 
   
 

If you wish to leave the seller a message or view the message history, simply click here.
Contact Name: Herold Hayes

Address: 2305 Clark St Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 312-330-4436

         
 
  
 

 
 

  

Tek: +1-
Fax:
oduct Details Price Per Unit Quantity Order Total Status
Born To Ride Harley Motorbike Mens $12.94 1 piece $12.94 AliExpress Standard Shipping
T-Shirt Size S-XXL Comfortable t shirt Estimated Delivery Time: 25-25 Days
Casual Short Sleeve Print tees cheap Processing Time: 3 Days
wholesale
Color: ff Dark Grey
Size: M
(seven ms)
za
Product Amount Shipping Cost Total Amoun
US $ 12.94 US $0.53 USS 1347.
AlExpress Multi-Language Sites
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by Category
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Only secure contentis displayed. = Whats the risk? | Show all content | x

 

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 157 of 319 PagelD #:848

 

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https://www.aliexpress.com/store/2478037

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Express =

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Bakuis Car Motor Led Lights Parts Store c 96.3% Positive fee OLLO

Bakuis Car Motor Led Lights Parts Store

a1 Feedback

 

bss) Ba eden d Products oS) Bie tea Beye bt ala

 

7 inch round headlight

 

For Nissan Patrol ¥60 Hummer H1&H2 7inch Round LED —_Red Signal 7 Inch Round LED Headlight 7" Daymaker 6w For Nissan Patrol Y60 Hummer Hl &H2 Patrol Y60
Headlizht For Jeep Wrangler TJ JK LI CJ Tinch Led For Projector Headlamp Light For Jeep Wrangler Hummer la Tinch Round LED Headlight For Jeep Wrangler TI JK L

 

 

 
 

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 158 of 319 PagelD #:849

 

 

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® Bakuis Car Motor Led Lights Parts Store Open 2 yea 36.3% Positive feedback FOLLOW

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Seller Feedback

Sellar Summary

 

er: Bakule Car Motor Led Lighte Parte store.

 

 

 

  

 

  

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cm 12 Sap 2018

Detailed seller ratings

Pes aber ==

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1 oe tes
Feedback History
Feedtrack 1 Meant 3 Maths
Positive {4-5 Stara} 110 268
Neutral (3 Stara) a 5 10
Negative (1-2 Stara) é 3 15
Positive feedback rate 98.5% BELA 58.2%
French Recenerd sea Seter(i13)
Viewng 1-10 a2] +.
Buyer Transaction Detalts Feedback sia dan as
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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 159 of 319 PagelD #:850

 

B 3 For Harleys Lights 5 3/4 X [+ Vv = Oo x

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Sture: Bakule Car Motor Led Lighte Parte Store Ope year 96.3% Positive feedback Fallow

For Harleys Lights 5 3/4" Black LED Daymaker Headlight with Halo Ring for
Harley Sportster Iron 883 1200 Dyna Street Bob FXDB

 

US $36.49 vec

OU! 4pp Lo se## exclusive prices +

 

 

Shipping. Free Shipping to United States via AliExpress Standard Shipping ~

3 days
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Product Details Feedback (4) Shipping & Payment Seller Guarantees Report item
Bakuls Car Motor Led Lights
Parts Store
item specifics
96.3% Positive feedback Maroen Heats

 

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3200LM 2400LM
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Seal Product Description
This Seller's Categories For Harleys Lights 5 3/4" Black LED Daymaker Headlight with Halo Ring for

Harley Sportster Iron 883 1200 Dyna Street Bob FXDB

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 160 of 319 PagelD #:851

 

 

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ve: Bakuls Car Motor Led Lights Parts Store pe 56.3% Positive feedback

   

a] For Harleys Lights 5 3/4" Black LED Daymaker Headlight with Halo Ring for
Harley Sportster Iron 883 1200 Dyna Street Bob FXDB

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60 days

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Buyer Protection
Full Refund ccewe

&% Full or Partial Refund if

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Product Details Feedback (4) Shipping & Payment Seller Guarantees Report ite
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Parts

ftem specifics

96.3% Positive feedback

 

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Contact Seller

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Product Description

This Seller's Categories For Harleys Lights 5 3/4" Black LED Daymaker Headlight with Halo Ring for
Harley Sportster Iron 883 1200 Dyna Street Bob FXDB

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Related Production:

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+ =" O m & https://www.aliexpress.com/item/For-Harleys-Lights- vr a ee ES:
: Feedback (4) Shipping & Payment Seller Guarantees

 

~ For jeep headlights
Tinch led headlligiw
= Square Headlight

 

For BMW Light
* For BMW Accessories

~ other products

 

 

Top Selling Products
From This Seller

 

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77 DAYNANER Headilig Tiinoh Round Motorey Harley Maforoynle yr 7" LED Headlight for
tH HULow Baar & ols LED Headlight For
USD 116.68/s8t USD 45.25\peca

 

D FLATC Untra Clarets
USD 27.55-36.42/phe

a Fat Bob Dayrmaker at
USD 75.05-74.07 "at

Technical Specifications:
- Size: 5-3/4"
- High Beam: 40W Low Beam: 30W
» High Beam Lumen: 3200LM
- Low Beam Lumen: 2400LM
- Light Temperature: 6000K (Bright White)
. Voltage: 12V, (10-48v Operating Range)

Fitment for harley:

Dyna
- Low Rider - 1993+
. Street Bob - 2006+
. Super Glide - 1995 - 2010
» Super Glide Custom - 2005 - 2014
- Super Glide Sport - 1999 - 2005
» Switch Back - 2012+
. Wide Glide - 1993+
Softail
. Bad Boy - 1995 to 1997
- Custom - 1984 ta 1999, 2007 to 2010
- Deuce - 2000 to 2007
- Night Train - 1998 to 2009
. Springer - 1986 to 2009
. Standard - 1984 to 1990, 1999 to 2009
» Breakout - 2013+
Sportster
- All
Touring - Super Glide
- 1986 to 1994
. Grand - 1986
- Super Glide II - 1982 to 1985
. Convertible - 1989 to 1993
- Custom - 1985
- Disc Glide - 1984
- Electric Start - 1974 to 1984
. Fat Bob - 1979 to 1985
- Kick Start - 1971 to 1978
. Low Rider - 1982 to 1993
V-Rod
» Night Rod - 2012+
TRIUMPH

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 162 of 319 PagelD #:853

 

 

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Product Details Feedback (4) Shipping & Payment Seller Guarantees

 

- Super Glide II - 1982 to 1985

- Convertible - 1989 to 1993

- Custom - 1985

- Disc Glide - 1984

- Electric Start - 1974 to 1984

- Fat Bob - 1979 to 1985

- Kick Start - 1971 to 1978

- Low Rider - 1982 to 1993
V-Rod

- Night Rod - 2012+
TRIUMPH

- Scrambler - 2006 to 2015

- Speed Triple - 2005 to 2010

- Speed Triple - 2006 to 2011

- Street Triple R - 2006 to 2011
Thunder-bird

- Thunder-bird - 2009+

- Commander - 2014+

+ Storm - 2010+

Detailed Images

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 163 of 319 PagelD #:854

 

 

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Product Details Feedback (4) Shipping & Payment Seller Guarantees

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 165 of 319 PagelD #:856

 

 

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Product Details Feedback (4) Shipping & Payment Seller Guarantees

    

 

 

 

 

 

 

Shipment

1.Orders will be shipped within 3 business day after payment cleared. All items will be
tested in advance before sending out.

2.Processing time would be extended if there is hot shopping season,anything please
contact wit us.

3.If the goods arrived local produce tariffs, need to customers pay.

4.If your city is remote areas. we will send other shipping or China post( delivery 30-60
days).

if you still requirements send Expedited Shipping. we will charge the Remote fee

 

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Please contact us for logistics.

: Recently Viewed ©
PetumsA Warranty =

 

 
 

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 166 of 319 PagelD #:857

 

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&  https://www.aliexpress.com/item/For-Harleys-Lights- akg xy L. \@

Feedback (4) Shipping & Payment Seller Guarantees

Return&Warranty

1.we do 1 year warranty for customer after you received goods.
2.If the item is defective in 2 months,we will send replacement without extra change or give
refund after we receive the defective item.
3.If the item is defective after 3 months,you can also send the defective item to us.We will
send a brand new one to you after we receive the defective item.But you have to pay extra
shipping fees.
Evidences Guide:
1.Photos of the broken lights:
You will be required to take clear photos and email us.the photos should include the bulb with
powder on and with powder off.
2.Videos of the broken lights:
Photos are not able to prove the led lamp are defective,a video is required.Please connect the
bulb with 12v powder adapter and show us in the video that you have connected the bulb
correctly with the powder cords.

Payment

Generally,we accept the following payment ways:credit card,Ut,western union ,paypal.
And our protection only gives the payment ways accepted by aliexpress platform

Ma 2 visa

MONEY TRANSFER -
Feedback

«

  
         

Satisfaction please give us 5 points

Ce ORC es a SEM eae othe ecg you give us 5 Stars
You have my word!

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Memas described: Wii ie we 52 Good quality and salistied
service attitude, Wit ww The salier service is Very good
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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 167 of 319 PagelD #:858

 

 

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Feedback (4) Shipping & Payment Seller Guarantees

 

Payment

Generally,we accept the following payment ways:credit card,U/t,western union ,paypal.
And our protection only gives the payment ways accepted by aliexpress platform

MONEY TRANSFER
Feedback

allel a $ in your next order after you give
You have my word!

perfect answer. Thank you

    

item as described: ge ied wr we st Good quality and satisfied

service attitude: Wirwewew °% The seller service is very good
shipping speed: Woiewkwe we St The safer delwery speed good tast
Packaging Details
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Wert x 10cm x 10cm (3.94in x 3.94in x 3.94in)

14 transactions in last 6 months. Sort

Transaction History

 

 

Buyer Transaction Information
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AliExpress [mame] hm tne

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(Jessica Z)
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Zip Code: evans
Mobile: a472461s32
Tat: +1-
Fax:
Product Delile Price PerUnil ‘Quanity Order Total Status
For Harmys Lighis 6 344" Black LED $38.90 tpmce = $36.90 Awaiting Receipt — AliExpress Standard Shipping
Daymaker Headlight with Halo Ring Fine Shiga
for Harley Sportster (ron B83. 1200 Estimaed Delivery Time: 23-2 Gays
Oyna Street Bob FXOS Processing Time: 7 Days
Color a back
(dessica Z)

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 169 of 319 PagelD #:860

 

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The tracking inforrmeton wil be displayed here

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* What's AiExpres: Shipping ? View Desitvery Chetzil

 

  

Contact Name : Jen Penn
Addrese: 230 5. Cl
‘Sie 552

Chicags, llinsis, United States

 

Zip Code: e004
Mobile: 8473451332
Tal: +4

Price Pee Unit Quanéty Order Total Shivs

tard Shipping

 
   
 

3 38.90 1 piece $36.80 Awaiting Recegt

Delivery Time: 23-23 Days.
gq Time: 7 Days

 

(Jessica Z)

Ea
ProducLAmourt © Siping Gost  Tabal Amount

US-5 36.90. US $0.00 US $36.90

AlExpress Mult-Language Sites

Browse by Category Alibaba Group

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 170 of 319 PageID #:861

Beads House - Small Orders 0;

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o — Cal
Seller Center

Exoress: —¥ I'm: shopping far... ea peel mid al tact w @e a

Store Beads House Open 6 year(s) 98.9% Positive feedback ~ FOLLOW 1581 Followers

Buyer Protection Help 0 Save big.on our app! Ship to

 

 

Detailed seller ratings (Out of 5)

YIWU, Zhejiang, China Item as Described 4.8 Above Average touse

This store has been open since Communication 4,8 Above Average
May 30,2012 / Shipping Speed 47 Abowe Aweragze

 

Yisit Store FOLLOW

 

Let s DIY Mothers Day Gift

OFF 10%-25%

 

 

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 171 of 319 PagelD #:862

Beads House - Small Orders 0;

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OFF 10%-25%

 

 

Top Selling

 

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Shape Pendants Jewelry Making Findings Charms 6222 1mm Made Metal Pendants For Bracelets DIY Jewelry Accessrioes Necklaces Craft Charms DIY Jewelry
US $0.23 Ssolt OS $0.04 Ssold OS $0.07

 

H0Pcs Wholesale Pink Color Resin Rose Flower Shape Spacer 20 Pcs Ancient Silver Tone Diamond Shape Hollow Metal 2Pcs Antique Silver Tone Hollow Phoe

Beads Cameos Jewelry Making 28x27mm Pendants For Bracelets Fashion Craft Jewelry DIY Findings For Wrap Scart 38x34mm mf
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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 172 of 319 PagelD #:863

Beads House - Small Orders 0;

 

 

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ee i Val ~
S0Pcs Wholesale Pink Color Resin Rose Flower Shape Spacer 20Pcs Ancient Silver Tone Diamond Shape Hollow Metal 2Pcs Antique Silver Tone Hollow Phoe
Reads Cameos Jewelry Making 282mm Pendants For Bracelets Fashion Craft Jewelry DIY Findings For Wrap Scart 38x34mm
US $0.15 2sold = OS $0.23 Lsold = GAS $2.92

 

20Pcs Silver Tone I Love Music Metal Pendants For Bracelets 50Pcs Antique Bronze Tone Cute Ghost Soul Halloween
Craft Jewelry Accessoris DIY Findings Charms 18x18mm Pendants For Bracelets DIY Craft Charms Fashion Jewelry

US $0.27 lsold = $0.08 1 sold

 

 

Bag Parts & Accessories
Metal Frames, Rivets, Buckles, etc, Choose the One you like & DO
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 173 of 319 PagelID #:864

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Bag Parts & Accessories

Metal Frames, Rivets, Buckles, etc, Choose the One you like & DO
Yourself Style Clutch

 

lOPcs L Shape Metal Purse Frames Hardurare Handles = 10Pces L Shape Metal Frames Kiss Clasps Floral 10Pcs Bronze Tone Metal Purse Frames LShape Kiss 10 L Shape Metal Purse Fr
Crystal Kiss Clasps Bangle Clutch Buckles Bag Parts = Bronze/told Tone Hardurare Handles Buckle Phone Clasps Handles Buckle Hardurare Bag Parts Handles Kiss Clasps Lock
US $6.46 US $3.43 US $3.37 US $6

 

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Beads House - Small Orders; < [iis
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2 Sete oily

1 Set Silver Tone Round Metal Snap Magnetic Clasp
Buttons Press 192m 18mm 13mm DIY Men Women

 

 

 

 

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10 Sete Silver Tone Metal Copper Charms Jeans Snap
Tips 32x1 91m Fit 18mm Sr

bOPcs New Silver Tone Metal Mini Snap Press Button
Round Cabochon Setting DIY Bracelets Necklaces For Necklace 33x28mm Fit 12m Snap Press Buttons
US $0.06 US $3.94 US $0.43 US $1.65
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6Pes Sibver Tone Round Metal Copper Snap Setting 2P cs Fashion Silver Tone Round Snap Setting Cuff Black Real Leather Drop B
Links 28x19mm Fit 18mm Snap Press Buttons Fashion = 88x34inm Fit 18m Snap Pi
US $2.66

Lt Sets Antique Silver Tone Metal Tips Snap End Caps
Bixl Siu 1?xfin Fit 18iun Snap Press Buttons DIY Connectors 26x19: Fit 1mm Snap Press Bottons
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US $1.60

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Charm Snap Pendant Shape Heart 4124 1imm Fit 12mm

Snap Charm Pendants 35x25imm Breloque Fit 18mm
US $1.30 US $3.34

EP es cilver Tone Charms Snap Earrings Wire Hooks
Drop Round Pendants 31x 2mm Fit 2mm Mini Snap

US SLS8S

 

 

New Silver Tone Clear Rhi
Animal Snap Pendant 57x¢

US $3.37
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 175 of 319 PagelD #:866

Beads House - Small Orders 0)

 

 

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US $1.83 US $1.30 US $3.34 US $3.37 a

 

   

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WPc Mixed Rhinestones Round Sunflower Snap 3Pes New Silver Tone Copper Snap Rings Bagues 3Pcs Wholesale Sitver Tone Round Metal Copper 2Pcs New Silver Tone Ady
Charms Pendant 344] mum Fit 18mm Snap Press 25:2 Linn Fit [2mm Mini Snap Buttons Wholesale Snap Rings Bagues Size 818mm) Fit fmm Snap Press Bagues Size 8 Fit 8mmSn
US $3.34 US SL27 US $L48 US $3.69

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White Real Leather Copper Rectangle Key Chains 24Pcs Mixed Random Fashion Press Snap Bracelets Wholesales 60Pcs Mixed Random Fashion Snap Wholesales Mixed Rando
Lobster 14.5x3.1em Fit 18mm Snap Press Buttons 4 Bangles Bands Fit Min Snap Button |2mm Fastener Bracelets Bangles Bands Fit Snap Button 18mm Bracelets Bangle Bard Fit
US $2.92 US $2.28 US $1.91 US $3.43

  

GOPcs Pendants For Bracelets Antique Bronze Tone 10Pes Antique Bronze Tone Elk Deer Antlers 10Pes Wholesale Black Handmade Terylene Twist 36P es Mixed Colors Rande
Round Two Holes Cute Gearwheel Metal Connectors Buckhorn Animal Metal Pendants ForNecklaces DIY = Cord Necklaces Colliers DIY Men Women Unisex Snap Bracelets Bangle 24c

US $0.14 US $0.43 US $0.32 US SLb¢

 

 
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Z4Pes Wholesale DIY Mixed Random Real Leather 100Fcs Mixed Random Patterns Colors Perles Charm S00P cs Mixed Random Patterns Round Glass Charms 150P cs Mixed Patterns Ro
(Children Snap Bracelets Bangle Band 20cm Fit Mini European Beads Glass Spacers Big Hole Fit DIY Copper Snap Buttons linn For Snap Bracelets Mini Snap Buttons 12mm]
US $L57 US $0.13 US $0.25 US $0.19

Beads Findings

 

bOPcs Sibver Tone Round Circle Metal Spacer Beads S0Pes Silver Plated Tag Glue on Bail Pendants S0P cs Silver Tone Flovrer Floral Carved Bail Beads For 900Pcs Mixed Rondelle Tu
Frames Jewelry Diy Findings 13mm Dia. Fashion Jewelry Findings 21xfmm Wrap Seat Jewelry Finding 224mm Beads Jewelry Diy Chanms
US $0.11 sso GS $0.09 sald GS $0.28 sold 8 $0.0£

  

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ZOPcs Mixed Cute Resin Biscuits Cake Ice Cream Free Shipping 10P cs Ball No Hole Round Natural 150P cs Copper Spacer Beads Square Silver Tone S00P cs Sibver Tone 4 Petal
Donate Shape Pendants Jeweloy Making Findings Wood Beads Crafts 30: Jewelry Component Smita 3/8" 3/8") Jewelry Diy Making Findit
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23 Sets Silver Tone Cat Animal Metal Beads Caps

10 Sets Silver Tone Snow Man Metal End Beads Caps
ewelry Findings 13xlémm 13xl4mm (Fit 10mm 12mm

Jewelry Findings 13x8mm 1121 0nun (Fit 10mm Beads)
US $0.56 ‘scld OS $0.29

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10 Sets Silver Tone Cute Frog Animal Metal End Bead = 30Pcs Gold Plated Hollow

Caps Jewelry Findings 13x91 (Fit 10mm Beads) Spacer Beads Fit Europea

US $6.29 sold OS $0.08

 

GOPcs Natural Color Round Ball No Hole WoodBeads 3 Sets Bronze Tone End Beads Caps Metal Toggle

S000P cs Sibver Tone Tiny Cute Star Metal Spacer 200P cs Sibver Tone Tiny
Fashion Jeweloy Diy Findings 20m 6/8") Dia. Clasps For Necklaces Jewelry DIY Findings 33xllmm Beads Jewelry Making Findings Component Charms Making Findings Charms (
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10 Sets Silver Tone Tea Set Teapot Metal End Bead 20P cs Silver Tone Baseball Sports Metal Spacers

 

 

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(caps Jewelry Findings 21x12 (Fit 10mm Beads) Beads Fit European Charms Bracelets Jewelry DIY Bubble Gum Chokers Necklaces Jewelry Diy Findings © Charm Bracelet Jewelry M
US $0.30 tsold OS $25 US $0.16 tsold ES $0.0
LO Pes Silver Tone Pattern Carved Bail Beads for 1O00P cs Silver Plated Round Ball Smooth Alloy 2100P ce Hematite Round Loose Beads Fashion 450P cs Natural Color Rout
Wrap Scarf Jewelry Making Findings dem x 48cm Spacer Beads Jewelry DIY Findings Component mm = Jevrelry émm(l/4") Beads Jewelry Making Fin
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10 Sets Silver Tone Teapot Tea Set Metal End Bead
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LOO Pes Silver Tone Round stainless Steel Blank
Btamping Tags Pendants Jewelry Making Component

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bO Pes Silver Tone Round Smooth Blank Stamping
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100Pcs Red Tiny Square Dice Acrylic Spacer Beads
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Stainless Steel Findings

S0P ce Sibrer Tone Round Stainless Steel Blank
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100P cs Rectangle Blank St
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LOPcs Stainless Steel Round Circle Blank Stamping 100Pcs Sibver Tone Rectangle Blank Stamping Tags 100P cs Silver Tone Heart Love Blank Stamping Tags S00P cs Sibver Tone Round
(Tags Pendants Charms Blanks Silver Tone 20mm Stainless Steel Pendants Breloque DIY Jewelry Stainless Steel Pendants Jewelry Findings Charms Jump Rings DIY Jewelry lh

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ZO0P cs Silver Tone Stainless Steel Eye Pins 4em 100P cs Silver Tone Stainless Steel Earring Wire Hooks © 2500Pcs Silver Tone Cercle Round Split Open 20P cs Silver Tone Flower ¢
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HOOP cs Ball Head Pins Silver Plated Copper Jewelny S00P cs Eye Pins Silver Plated Alloy Handmade 100P es Silver Tone Heart Four Leaf Clover Love 100P es Silver Tone Bone &
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Snap Necklaces

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- Bracelets & Wristands

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> Necklaces

- Earring Findings

- Rings

- Key Chains&Key Rings
- Cuff Links

- Brooches

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Beads Findings

- European Charm Beads
- Bail Beads

- Rhinestone Beads

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- Glass Beads

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- Seed Beads

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Condition 10054 New

Style/Type Pendant DIY
Meterial Zinc metal alloy(Lead, Nickel and Cadmium safe)
Size Approx:24mim x 14mm Hole size:1.41mm Thickness:2.56ram
conversion: 1 inch = 25.4mm or 1mm = 0.0393 inch
Color Dull Silver Tone(Not Silver Plated]
Quantity 150 Pcs
Part WO. Neog
Note

 

US $4.46

 

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Package Size: Sem x Sem x Sem (1.97in x 1.97in x 1.97in)

 

Transaction History 1 transactions in last 6 months. Sort by latest #
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Contact Name: Axel Yang
Address: 230 5S. Clark St.
STE 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 8473451332

 

Tel: +1-
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oduct Details Price Per Unit Quantity Order Total Status
150Pcs Silver Tone Harley $15.01 1 lot $15.01 Awaiting Receipt ePacket
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Address: 230 5. Clark St.
STE 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 8473451332

   

 

  
 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 189 of 319 PagelD #:880

 

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March 31, 2019

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Axel Yang
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STE 552 150Pcs Silver Tone Harley Motorcycle $16.02

Pendants Jewelry Findings Charms

24014mm

Chicago, IL 60604
United States
Item #100366180436773.

Category
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Total $16.02
Transaction ID

OLKY3813GN4917418

Print details

Need help?

If there's a problem, make sure to contact the seller Report a problem
through PayPal by September 27, 2019. You may be

eligible for purchase protection.

HELP GONTACTUS SECURITY FEES FEEDBACK

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 190 of 319 PagelD #:881

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Multiple item - claim
Sunday, March 32, 2019 Payment to +3591 $16.02 USD

Which items do you need to contact us about?

Seller contact

wll

(J 100366180436773 - 150Pcs Silver Tone Harley Motorcycle Pendants Jewelry Findings Beads_House@outlook.com

Charms 24x14mm
© Didn't receive
O Not as described

What is the category of your purchase?

Oo Physical item
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Compose message to Paypal

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Return to transaction

HELP CONTACT US SECURITY FEES FEEDBACK
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 191 of 319 PagelD #:882

 

 

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DHL Express : 4-9 days www.dhi.com
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Customer's 100% satisfaction is our goal!

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Report a problem

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Have you already been in touch with the seller? It’s often the best way to resolve a problem.
LOFS479S06Hqq.com
What type of issue would you like to report?

| didn't receive an item | purchased

The product or service was not delivered to you.

(received an item that wasn't as described

The product or service

  

described in you

I want to report unauthorized activity

Report suspicious activity, transactions and account

changes you didn't authorize.

(have a billing issue

Report issues with transaction amount, duplicate

charges, refunds or canceled subs iE.

 

& | We want to hear from you! Share your thoughts on how the dispute filing experiance can be
made better.

 

 

 
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Vintage TORC TS? motorcycle 4

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Store! Bobo's sports store Open: 5 year[s) 96.2% Positive feedback Follow

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Vintage TORC 157 motorcycle helmet Harley 3/4 open face helmet Cool
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Bobo's sports store

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Item specifics
98.2% Positive feedback

Type: Helmets

      

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Product Description

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 209 of 319 PageID #:900

Vintage TORC T57 motorcycle

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Dpenbayeatls) Product Details Feedback (25) Shipping & Payment Seller Guarantees

 

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Product Description
Contact Seller

This Seller's Categories

— Motorcycle Helmets

   

- Half helmet

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. face Mask Cycling Sea Stainless Steel Matarcy Tansmitter Hands-free oreycle helmet Harley 3

“Vintage harley helmet USD 6.99¥/c1 USD 9.43/pair USD 9,00/piece USD 66.99) piece

- Full face helmet

-Motecross helmet

+ Visor lens,Spare...

 

Goggles,Mask
~ Gloves
- Motorcycle gloves
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USD 8.58! pair USD 69.90) piece USD 63.99! piece USD 11,20) piece

- Others ; .
ied Product introduction

Brand :TORC

Top Selling Products Model number: T-57
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Buffer layer: high-density EPS foam Lined
Lining: high-grade COOLMAX, deodorant, absorb sweat,easy to unpick and
Washable
European Size:M(57-58cm),L(59-60cm), XL(61-62cm)
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37 orders

   
   

 

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2. Ve ship the package within 46-72 hours after the payment cleared. (Excluding the weekend and holiday), The
Shipment usually takes 10-50 days However, shipping time will highly depends on the courer and the local
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3. Refunds are not generally issued, Special situations are examined on a case to case basis, But ln any
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Return Policies & Feedback

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Request Order Cancellation

Contact Seller

Fran Penn
230 S. Clark St
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Chicago, Illinois, United States
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Free Shipping

Estimated Delivery Time: 25-25 Days
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lf there's a problem, make sure to contact the seller Report a problem

through PayPal by September 14, 2019. You may be
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THHHELMET

US $63.99 - 71.99

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(Glass Fiber Vintage motorcycle helmet Harley bike half helmet with internal sunglass Motorbike

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motorcycle helmet Harley motorcycle helmet without Visor lens

votes) 132 orders

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Size: NM L AL XXL

 

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Estimated Delivery Time! 23 days €

Quantity: - 1 +

  

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shipping fee; or keep the product & agree refund with seller,
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C&c. motocycle helmet

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Item specifics

97,208 Positive feedback Brand Name: THH cen Type! Helmets

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-flip up helmet
- half face helmet

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+ gloves ~ /

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Express > Order List > Order Detail

Place Order

Order Number. 89706174293493
Status: The seller has shipped your order

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Buyer Protection Help 0 Fave big on os appl

 

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Reminder. Your order should arrive within 23-23 Days, Factors such as delayed logistics and customs clearings may have an impact on the delivery time

1_If your onder does not arrive on 2019-05-17 _ you can apply for a refund by opening a dispute

2. To extend the Buyer Protection for this order, please click here _

( SelectAll Product Details

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Motorcycle Helmet Brand Japan TT&CO Thompson
Glass Fiber Vintage motorcycle helmet Haney

motorcycle helmet without Visor lens

Properties: Color white
(Lee Amanda)
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Confirm Good: 5 Received

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| Size M

Product Status

Awaiting Receipt

Options

 

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Sign in

Order Complete

Need Help?

 

 
   
 

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© Tracking information is available within 5-10 days. You can track your order here ePacket
View Delivery Detail
des Financial
pre: C & c. motocycle helmet and accessories Inc. | |) Contact Seller
> ee RGR eel ee Bett mtr Ce lame) yal te etl ce
Contact Name > Shawn Penn
Address: 2305. Clark St
Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 3473451332
Tel: +1-
Fax:
oduct Details Price Per Unit Quantity Order Total Status

Motorcycle Helmet Brand Japan
TT&CO Thompson Glass Fiber
Vintage motorcycle helmet Harley
motorcycle helmet without Visor lens
Golor. Fj white

Size, M

(Lee Amanda)

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$69.99

1 piece

$69.99

Awaiting Receipt

AliExpress Standard Shipping

Free Shipping

Estimated Delivery Time: 23-23 Days
Processing Time: 5 Days

 

 

 

Product Amount Shipping Cost
US 3 69.99 US 30.00
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oO Motorcycle Helmet Brand Japan TT&CO Thompson Awaiting Receipt Open Dispute

Glass Fiber Vintage motorcycle helmet Haney
motorcycle helmet without Visor lens
Properties: Color white < Size M

(Lee Amanda)

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Confirm Goods Received

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wnational Shipping Tracking Number Remaris
Tipany
acket LT453059556CN

a Financial

ore: G & & motocycle helmet and accessories Inc

 

‘contact Seller

Contact Name : Shawn Penn
Address: 2305. Clark St
Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 8473451332
Tel: +1-
Fax:

oduct Details Price Per Unit Quantity Order Total

Motorcycle Helmet Brand Japan $69.99 1 piece $69.99

TT&CO Thompson Glass Fiber

Vintage motorcycle helmet Harley

motorcycle helmet without Visor lens

Color fj white

Size: M

(Lee Amanda)

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Service. Disputes & Repons, Guyer Protection, Feour FM mnitiqgement
by Category
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If you wish to leave the seller a message or view the message history, simply click here.

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Details

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© Tracking information is available within 5-10 days. You can track your order here ePackeL

View Delivery Detail

 
   
 

Status

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Free Shipping
Estimated Delivery Time: 23-23 Days

Processing Time: 5 Days

Product Amount Shipping Cost Total Amoun
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March 18, 2019

=k - $72.79
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Invoice ID
Ship to T20201101271619031800846024 99706174293493

Shawn Penn

230 5. Clark St Purchase details

 

Ste 552 Motorcycle Helmet Brand Japan TT&CO $72.79
Chicago, IL 60604 Thompson Glass Fiber Vintage motorcycle
United States helmet Harley motorcycle helmet without
Visor lens

Category Item #99706174293493
Car Rental
Transaction ID Total $72.79
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Print details
Need help?
If there's a problem, make sure to contact the seller Report a problem

through PayPal by September 14, 2019. You may be
eligible for purchase protection.

HELP GONTACTUS SECURITY FEES FEEDBACK
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Multiple item - claim

Monday, March 18, 2019 Payment to 8 6 $72.79 USD

Which items do you need to contact us about?

Seller contact

mF &
C) 99706174293493 — Motorcycle Helmet Brand Japan TT&CO Thompson Glass Fiber liyanghui.888@outlook.com
Vintage motorcycle helmet Harley motorcycle helmet without Visor lens

© Didn't receive
O Not as described

What is the category of your purchase?
Oo Physical item
© Digital good / service

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HELP CONTACT US SECURITY FEES

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Detailed seller ratings (Qut of 5)

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Dirt Bike ATY D.O.T certified (MM, Blue) fullface casco Motocross Off Road Helmet ATY Dirt bike Downhill Moto Jet Scooter Bike Helmet Retro DOT approved vintage motocross helmet
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Kneepad Motorcycle Sports Cycling Guard Protector Motocross Racing Protective Gear Protector Guards Resistance Flexible Breathable Adjustable Motocross = Protector Sports Scooter
US $15.99 US $15.99 US $15.99 US $13.60

AliExpress Multi-Language Sites

      

 
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Kneepad Motorcycle Sports Cycling Guard Protector Motocross Racing Protective Gear Protector Guards Resistance Flexible Breathable Adjustable Motocross = Protector Sports Scooter
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AliExpress Multi-Language Sites

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} iExoress’ =F I'm shopping for... All Categories pe Wish’ (). Slenin Join

oo List Cc.) My AliExpress

New here? Get your coupons! $

Store: capacete Store Open 1 years) 93.1% Positive feedback Follow

 

ear > Helmets

   

Free shipping PU Leather Harley Helmets 3/4 Motorcycle Chopper Bike
helmet open face vintage motorcycle helmet with gogele mask

2 arders

 

 

Price: PARLE ea

$4
pice US $39.90 - 50.30 /picce BERRY 6 days ier

aa Get our app to see exclusive prices +

“ BPRRRBRROAD
@2832833082°0

Size: 5 Ml Ls AL MAL

 

Shipping: Free Shipping to United States via AliExpress Standard Shipping

Estimated Del

   

eny Time: 23 days ©

Quantity: = 1 +

  

 

Store

Promotion

io Policy &) Returns accepted if product not as described, buyer pays return
shipping fee; or keep the product & agree refund with seller,
View details >

 

Ea On-time Delivery
60 days

VISA @ GD © BP Poyro! eH 17 52...

View Mare &

 

 

Buyer Protection

Full Refund if you don't receive your order
Full or Partial Refund, if the item is not as described

Learn More *

Sold By

Product Details Feedback (0) Shipping & Payment Seller Guarantees Report itern
Capacete Store

hina (ZA Jiang]

Item specifics

93.1% Positive feedback

Detailed seller ratings

 

  

Open. 1 ¥ear{s) iden Unisex
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Virit Crave Callas
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 260 of 319 PageID #:951

Free shipping PU Leather Harl- >

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93.1% Positive feedback Feedback (0) Shipping & Payment Seller Guarantees

 

 

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Open 1 yearls)

   

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Visit Store Follow wd de! Motorycele Helmet
| Unisex For 2: Male
Contact Seller 2 For 3) Women t Type: Racing Riding Helmet
jitable For: Bobber

Product Description
This Seller's Categories

— Helmet we will send it ta the postman within 24 hours after your payment, and it need 24-48 hours to be send to the port, so you
Softraach hale can tracking informations in at least 3-5 days and if you can't tracking it more than 3-5 days, please Contact us, we will
try to contact to the post office or send a new pakcet to you.

-fullface helmet $:55-56cm

- Combination of helmet M :57-58cm
-Flip Up helmet L:59-60cm

- Chile helmet XL:61-62cm
- Bluetooth Helmet XXL:63-64cm

- half face helmet

-open face helmet

* HOT SELL To most countries we will pay for free shipping, but shipping for some countries is very expensive and so we will Bet some extra
Moto Gloves shipping costs, If you need to receive the package as soon as possible,pls choose a faster shipping wayou may need to pay a little
more, but you will get your package faster,
+ gogsles and lens Ifyou do not receive the Foods on time, please contact us, do not put forward disputes > We can extend your delivery time
Ifyou are satisfied with the goods, please give us five stars,
+ Motorcycle boots Thank you for your kind understanding,
+ Motorcycle armor
Herd circumference mersurement Helmet werring

Motorcycle knee...
+ HOT HOT HOT

+ Others

 

Trending Products

     
 

Helmet size comparisom table

    

 

Size xs 5 M KEL
Herd 53-54 55-56 63-64
circumference cM cM cM
DOT Certificate

 

US $42.30
(24)

 

 

 

 

 

38 orders

US $36.00

2 orders

  

 

US $42.30 Recently Viewed @

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 261 of 319 PagelD #:952

Free shipping PU Leather Harle >

 

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Preduct Details Feedback (0) Shipping & Payment Seller Guarantees

US $42.30
(2)

2 orders

 

US $38.30

 

US $32.60
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4orders

View More ¥

 

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 262 of 319 PagelD #:953

Free shipping PU Leather Harle >

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Free shipping PU Leather Harle >

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Feedback (0) Shipping & Payment Seller Guarantees

 

 

   

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 264 of 319 PagelD #:955

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Product Details Feedback (0)

 

 

   

 

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Preduct Details Feedback (0) Shipping & Payment Seller Guarantees

 

 

 

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 270 of 319 PagelD #:961

Free shipping PU Leather Harle >

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Shipping & Payment Seller Guarantees

   

 

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Retro Chopper WANLI Motorcycle Helmet 3/4 pink colar Cute Child H retro motorcycle helme
Brands Motorcycle Hel Open Face Vintage Cas elmets Motorcycle Mot tfull face ABS Shell lig
USD 32.70-42.40/p USD 30.30-53.50/p USD 23.90/piece USD 37.50-41.50/p

 

Blue lelmet
Bluetooth Motorcycle Hot sale colorful India Microphone Speaker H DOT Approve New Hig
helmet FLIP UP helmet n Harley Motorcycle He eadset Accessory for fl h Quality Flip UP Helm

USD 75.10-76.00'p USD 39.58-45.63/p USD 70.30/piece USD 46.40/piece

Packaging Details

 

Je: piece

  
 

2: 26cm * 26cm x 26cm (10.24in x 10.24in x 10.24in)

Transaction H istory 2 transactions in last 6 months. Sort by latest

Buyer Transaction Information Recently viewed @
 

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 273 of 319 PageID #:964

Free shipping PU Leather Harley

 

 

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Product Details Feedback (0) Shipping & Payment Seller Guarantees

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Retro Chopper WANLI Motorcycle Helmet 3/4 pink color Cute Child H retro motorcycle helme
Brands Motoroycle Hel Open Face Vintage Cas elmets Motorcycle Mot tfull face ABS Shell liz
USD 32.70-42.40/p USD 30.30-53.50/p USD 23.90/piece USD 37.50-41.50/p
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Bluetooth Motorcycle Hot sale colorful India Microphone Speaker H DOT Approve New Hig
helmet FLIP UP helmet n Harley Motorcycle He eadset Accessory for M h Quality Flip UP Helm
USD 75.10-76.00/p USD 39,58-45,63/p USD 70.30/piece USD 46.40 /piece
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Packaging Details

Unit Type: piece Package Welz

 

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e Size: 260m ¥ 26cm * 26cm (10.24in x 10.24in x 10.24in)

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Buyer Transaction Information
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More Products

 

From This Seller

 

US $11.20 US $11.20 US $39.58 US $36.00
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S arders 3 orders 12 orders 25 orders

From Other Sellers

  
 

 

US $34.02

US $26.60 US $32.40

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 274 of 319 PagelD #:965

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My AliExpress ; Manage Or...

 

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Express > Order List > Order Detail

Place Order

Order Number. 99637202143493

  

 

= c| Search...

Buyer Protection Help 0 Baye big on ote appl Ship to

 

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Sign in

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WishList

 

Pay Success

Status: The seller has shipped your order

Reminder. Your order should arnive within 23-23 Days, Factors such as delayed logistics and customs clearings may have an impact on the delivery time:

Order Complete

 

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1 If your onder does not arrive on 2019-05-17 . you can apply fora refund by opening a dispute

2. To extend the Buyer Protection for this order, please click here _

(Select All

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Product Details

Free shipping PU Leather Harley Helmets 3/4
Motorcycle Chopper Bike helmet open face vintage
motorcycle helmet with goggle mask

Properties: Color Lattice road =; Size XL

(EAT LIN)

Bal

Confirm Good: 5s Received

istics Information:

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Tracking Number

Remarks

LT451943897CN

Product Status Options

Awaiting Receipt

 

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Details

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© The seller is using AliExpress standard shipping. The tracking information will be displayed he
within 5-7 days after seller has sent out the package. You can also go to HZEMS check the
tracking information

‘hat's AliExpress Shipping ?

er Financial

pre: capacete Store | Contact Seller |

Contact Name : Criss Penn
Address: 2305. Clark St
Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 8473451332
Tel: +1-

Fax:

oduct Details Price Per Unit Quantity Order Total

Free shipping PU Leather Harley
Helmets 3/4 Motorcycle Chopper Bike
helmet open face vintage motorcycle
helmet with goggle mask

Color gp Lattice road

Size: XL

(EAT LIN)

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$ 50.30 1 piece $50.30

Awaiting Receipt

View Delivery Detail

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Status

AliExpress Standard Shipping

Free Shipping

Estimated Delivery Time: 23-23 Days
Processing Time: 4 Days

Product Amount Shipping Cost Total Amour

US $ 50.30 US 30.00 US 5 50.30

 

Only secure content is displayed. 9 What's the risk?

 

Show all content

 

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 275 of 319 PagelD #:966

 

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| = My AliExpress; Manage Or... “|
2. To extend the Buyer Protection for this order, please click here -

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Product Details

Free shipping PU Leather Harley Helmets 3/4
Motorcycle Chopper Bike helmet open face vintage
motorcycle helmet with goggle mask

Properties: Color Lattice road ; Size XL

(EAT LIN)

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Confirm Goods Received

istics Information:

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Tracking Number

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ore: capacete Store | 2) Contact Seller

Criss Penn
230 3. Clark St
Ste 552
Chicago, Illinois, United States
60604

8473451332

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Contact Name :
Address:

Zip Code:
Mobile:
Tel:

Fax:

oduct Details Price Per Unit

Quantity Order Total

Free shipping PU Leather Harley
Helmets 3/4 Motorcycle Chopper Bike
helmet open face vintage motorcycle
helmet with goggle mask

Color gp Lattice road

% 50.30 1 piece 3 50.30

 

Size: XL

(EAT LIN)

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Service. Disnuies 3 R Protection, Remurl IFA infitawenent
by Category
WW, Provut, Prmodon bow Price Great Value eviews

Product Status

Awaiting Receipt

Details

If you wish to leave the seller a message or view the message history, simply click here.

 

~ ¢| Search...

Options

Open Dispute

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Refresh

~ The seller is using AliExpress standard shipping. The tracking information will be displayed he
within 5-7 days after seller has sent out the package. You can also go ta HZEMS check the
tracking information.

View Delivery Detail

 
   
 

Status

AliExpress Standard Shipping

Free Shipping

Estimated Delivery Time: 23-23 Days
Processing Time: 4 Days

Awaiting Receipt

Product Amount Shipping Cost Total Amour

US 3 50.30 US 30.00 US 3-50.30

AliExpress Multi-Language Sites

   

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Show all content

 
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 276 of 319 PagelD #:967

 

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| P PayPal: Transaction Details ™ |_

P Tata Activity Send & Request Wallet | oy LOG OUT

 

<, Activity

March 18, 2019

thE - $52.31
Payment
Paid with Seller info
VISA x-5176 PRES
You'll see "PAYPAL *LINYVITE LINYITE” on your card statement.
Invoice ID
Ship to 720201101004119031800840024 99637202143493

Criss Penn

230 5. Clark St Purchase details

 

Ste 552 Free shipping PU Leather Harley Helmets $52.31
Chicago, IL 60604 3/4 Motorcycle Chopper Bike helmet open
United States face vintage motorcycle helmet with
goggle mask

Category Item #9963 7202143493
Auto Supplies
Transaction ID Total $52.31
SPW79375540310739

Print details
Need help?
lf there's a problem, make sure to contact the seller Report a problem

through PayPal by September 14, 2019. You may be
eligible for purchase protection.

HELP GONTACTUS SECURITY FEES FEEDBACK
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 277 of 319 PagelD #:968

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| P Resolution Center - PayPal

 

 

Summary vate alas Send & Request Wallet Offers

 

Multiple item - claim

Monday, March 18, 2012 Payment to $52.31 USD

Which items do you need to contact us about?

Seller contact

AMS
() 98637202143493 - Free shipping PU Leather Harley Helmets 3/4 Motorcycle Chopper ?60121454@qq.com
Bike helmet open face vintage motorcycle helmet with goggle mask

© Didn't receive
O Not as described

What is the category of your purchase?
Oo Physical item
© Digital good / service

Compose message to Paypal

Sy

Return to transaction

HELP CONTACT US SECURITY FEES: FEEDBACK

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 278 of 319 PagelD #:969

Casque de chevalier Store - Si

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New here? Gi

 

 

Exoress

Store: 1 95.85 Positive feedback Follow 46 Foll

 

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Home > Store Home

Get coupon now Get coupon now Get coupon now Get coupon now

   

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days

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Stare Categories

HOT SELI Wf you don't receive your order items not as described

=] Buyer Protection ™ Full Refund ™ Refund or Keep
Motorcycle Helmet

~ Full Face

» Open face Products
~ Half Helmet

~ Modular

~ Flip Up Helmet

Wawarey

» Motocross Been

~ Kids Helmet

~ Bluetooth Helmet
Motorcycle Gloves
Motorcycle boots

Motorcycle armor

 

Motorcycle knee...

Motorcycle gogeles
Motorcycle helmet jet Vintage helmet... = Harley Helmets For Motorcycle Retro... 57-62crm ABS Plastic Motorcycle Helmet M4

HOT HOT HOT Helm... Capacete,

US $22.00 / piece US $22.00; US $22.00 / US $30.

   

Service Center

Contact Now

Free Gift= g

Follow

   

16 Followers

Top Selling

Latest Vintage Leather
Motorcycle

U5 €10

Orders(18?7]

Vega Vintage carbon Fiber Motorcycle Motorbike ... carbon Fiber motorcycle open face... Helmet Motorcycle Open Face 2019 Geni
Motorcycle Helmet for Capacete.. Motorcycl

  

US $28 Al i piece Cc £o" ore cc a} i Bion © $5 ree % J ed
Orders(124) US $82.00 / piece US $82.00 / piece US $30.00 / piece US $30.

Hot Salel! Summer
Winter Full Finger...
US $6.29 / piece Recently Viewed @.

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bttpsi/fanmnnyaliexpress.com/store/43 98091 >

 
 

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 279 of 319 PageID #:970

 

Casque de chevalier Store - Sry

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Orders(121)

Hot Salel! Surmer
Winter Full Finger...
US $6.29 / piece
Orders(91)
@®

US $37.35 /

Orders(64]

 

CHROME MIRROR
German military

U5 $21.15

Orders(59)

2018 New arrive
motorcycle helmet
US $37.80 / piece

Orders(44]

  

Unisex-Adult's Full-
Face Style...
US $62.91 / piece

Orders[43)

Motorcycle Helmet
Gogeles Vintage...
US $8.37 f piece

Orders(38]

NEW Off Road
motorcycle Adult...
US $49.50) piece

Orders(35)

Classic Motocross
Helmets ATV MTB...

US $39.60 /

Orders (30)

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Buantes luvas PRO
biker gloves moto...
i $6.12 / piece

Orders(30)

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BYE Brands
Motorcycle Helmet
U5 $37.80! piece
Orders(24]

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Motorcycle Helmet
Men Full Face...
US $37.80 / piece

Orders(16)

HOT SELL Motorcycle
Adult Motocross...
US $39.00)

Orders(15)

Hot Sale! Summer
Winter Full Finger...

Orders{15)

20 @

Helmets Adult
Snowmobile Helmet
US $47.34/
Orders{14]

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HOT SELL 2018
Bluetooth
US $73.80 / piece

Orders{14)

leather PU harley
Casco moto vintage...
US $35.99 f piece

Orders(1 3]

FREE shipping Retro
Vintage...
US $10.26! piece

US $10.

Orders(12)

Bw ke

Motorcycle Helmet

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US $62.00! piece US $82.00 / plece US $30.00 / piece

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Helmet motorcycle open face
Capacete..

US $30.00! piece

Motorcycle open face helmet CLEAR
lens.

US $30.00 / piece

open face women men Motorcycle
helmets...

US $55.00) pi

 

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Free Gift=

Free Gift= fs

     

2018 New open Racing helmet ECE
Dual...

US $55.00) piece

Racing Carbon fiber print Motocross... Motorcycle Helmet Open Face Mota...

US $59.00; US $28.00 / piece

 

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Motorcycle Helmets Electric Bicycle... Light weight safety motorcycle helmet...

US 426.00) piece US $26.00 / piece US $26.00 | piece

harley casco moto vintage motorcycle...

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US $30.%

 

open face
helmets...

US $55.

half Men ft

US $28.

Full Face F

 

US $71.

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Recently Viewed @

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 280 of 319 PageID #:971

Casque de chevalier Store - Sry

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Motorcycle Helmet
Goggles Vintage...

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Orders(38]

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NEV! Off Road
motorcycle Adult...

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Orders{35)

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Classic Motocross
Helmets ATY MTB...
US $39.60! piece

Orders(30]

Buantes luvas PRO
biker gloves moto...
US $6.12

Orders(30)

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BYE Brands
Motorcycle Helmet
US $37.80 / piece

Orders(24]

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Motorcycle Helmet
Men Full Face...

US $37.80 / piect
Orders(1 6)

 

HOT SELL Motorcycle
Adult Motocross...
US $39.60) pie

Orders(15]

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Hot Sale! Summer
Winter Full Finger...

 

£6.12 / pie

Orders(15)

Helmets Adult
Snowmobile Helmet

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IS $47.54 / 5

Orders(14]

HOT SELL 2018
Bluetooth
US $73.30

Orders{14)

leather PU harley
Casco moto vintage...
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Orders{1 3]

  

 

FREE shipping Retro
Vintag

 

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Orders{12)

Motorcycle Helmet

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Orderstt 2]

 

Browse by Category

 

 

 

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Intergrated Modular.

‘t ECS MATTE BLACK

 

2018 New open Racing helmet ECE
Dual...

US $55.00! piece

 

 

Motorcycle Helmets Electric Bicycle...

US $28.00

 

 

 

 

Racing Carbon fiber print Motocross...

US $55.00) piece

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Light weight safety motorcycle helmet...

AliExpress Multi-Language Sites

 

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Motorcycle Helmet Open Face Moto... half Men
US $28.00 / piece US $28.
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harley casco moto vintage motorcycle...

US $28.00 / piece

      

Full Face

US $71.

 

Recently Viewed @

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 281 of 319 PagelD #:972

2018 HOT SELL motorcycle he)

 

 

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New here? Getyour coupons! s
Store: Casque de chevalier Store 95.8% Positive feedback Follow
Home > All Categories = Autieaghiles & Motgeoygles = Motorcycle Arcessories & Parts = Protective Gear = Helmets
@ &® 2018 HOT SELL motercycle helmet harley retro open face vintage helm

   

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casco moto JET kask vespa casque cafe racer pilot capacete

 

   

(2 votes) 4orders
Price: LS $31 57 eee 1
Discount LS $28.41 - 43.20 /picce REY ostasmais

aa Get our app to see exclusive prices +

“ @9PLeELDOD
L@BSenaRe
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Size: 5 Ml [ AL AL

 

Shipping: Free Shipping to United States via AliExpress Standard Shipping

Estimared Delivery Time; 23 days

Quantity:

Total Price:

   

Policy f) Returns accepted if product not as described, buyer pays return
shipping fee; or keep the product & agree refund with seller,
View details &

 

Ea) On-time Delivery
60 days

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Buyer Protection
& Full Refund if you don't receive your order
Full or Partial Refund, if the item is not as described

Learn More

say Product Details Feedback (2) Shipping & Payment Seller Guarantees Report item

Casque de chevalier Store
shina (Zhejiang)
Item specifics
95.8% Positive feedback

Detailed seller ratings

Brand Name: Wanli cem Type: Helmets Recently viewed @
 

Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 282 of 319 PagelD #:973

2018 HOT SELL motorcycle he

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Sulu oy

Casque de chevalier Store

95.8% Positive feedback

Jétailed seller ratings
Visit Store Follow

Contact Seller

This Seller's Categories

+ HOT SELI

~ Motorcycle Helmet
- Full Face
- Open face
- Half Helmet
- Modular
-Flip Up Helmet
-Mlotecross
- Kids Helmet
- Bluetooth Helmet

+ Motorcycle Gloves
+ Motorcycle boots

+ Motorcycle armor
+ Motorcycle knee...
+ Motorcycle goggles

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Top Selling Products
From This Seller

 

US $28.41
(47)
121 orders

 

US $62.91
(17)
43 orders

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Report item *
Seller Guarantees

Product Details

Feedback (2) Shipping & Payment

 

Item specifics

    

 

and Mame: Wanli an Type: Helmets
4a iberial) Abs Halmet Style) Open face
* 1.2ke ander Unisex
uality Cerificane: Dot

Product Description

$:55-56cm

M:57-58cm
L:59-60cm
XL:61-62cm
XXL:63-64cm

Measure Your Head Size Choose the right helmet

 

  
  
  

The forehead

Way of measurement:
hair root

Wrap the measuring tape around your
head, just above your eyebrows,

Head bump point passing the highest point on the back
of your head, including hair, to get an

accurate measurement. Then check the

size chart to choose the right helmet.

 

 

Sire xS Ss M L XL XXL
Herd 53-54 55-56 | 57-58 59-60 61-62 | 63-64
circumference cM Cm | CM CM CM CM

 

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Way of measurement:

US $37.35
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US 510.26 Size xs s M L XL
(80) | cl Herd | 53-54 | 55-56 | 57-58 | 59-60 61-62 | 63-64 |
187 orders circumference cM cM cM | cM cM cM

The Core Vintage open-face helmet has the look of a traditional 3/4th helmet like the ones worn in ‘Easy Rider's: 5 snaps to
accommodate a flat shield and a 3-snap bubble visor is included

Free cit: ap - ¥ Made with an New ABS material shell
breathable comfort interior

Finished with premium automotive paint and clear coated for additional scratch protection
Ships in food Packaging
@ Meets and exceeds DOT FMSV218 standard
a a a a
cae Model 1: Brown inner lining

(5)
59 orders

Trending Products

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US $25.20

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Black Leather

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 290 of 319 PageID #:981

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Product Details

 

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Be German Style Motor
USD 53.10-60.30/p

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Packaging Details

Unit Type: piece

Feedback (2) Shipping & Payment Seller Guarantees

 

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Unisex-Adult's Full-Fac 2078 New arrive motor Gold helmet Face Shiel
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USD 62.91-64.80/p USD 37.80-41.99/5 USD 28.41-47.70/p
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HOT SELL Motorcycle A The carbon fiber hlotor Probiker Motorcycle K
dult Motocross Helmet cycle Gogeles Vintage nee Pads Joelheira Mot
USD 39.60-47.70/p USD 72.90-75.59/p USD 12.60/piece
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Package Weight: 1.2ke (2.6516)

Package Size: 26cm x 26cm x 26cm (10.24in x 10.24in * 10.24in)

Transaction History

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More Products

Transaction Information

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Product Details Feedback (2) Shipping & Payment Seller Guarantees
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Magnetic Dual-use Outer
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Buyer Protection Melo 0 Fave bia on ol appl Shipto

 

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Express > Order List > Order Detail

 

 

Place Order Pay Success

Order Number, 99825623743493
Status: The seller has shipped your order
Reminder. Your order should arrive within 23-23 Days, Factors such as delayed logistics and customs clearings may have an impact on the delivery time
1 If your onder does not arrive on 2019-05-17 _ you can apply for a refund by opening a dispute

2. To extend the Buyer Protection for this order, please click here _

(Select All Product Details Product Status Options
EA 2078 HOT SELL motorcycle helmet harley retro open = Awaiting Receipt Open Dispute
face vintage helm casco moto JET kask vespa casque

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Properties: Color PU Crocodile skin ; Size L
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Confirm Good: 5s Received

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Order Complete

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© The seller is using AliExpress standard shipping. The tracking information will be displayed he

within 5-7 days after seller has sent out the package. You can also go to HZEMS check the

tracking information
‘hats AllExpress Shipping ? View Delivery Detail

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ore: Casque de chevalier Store

 
  

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Contact Name > Andy Penn
Address: 2305. Clark St
Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 8473451332

Tel: +1-
Fax:
oduct Details Price Per Unit Quantity Order Total Status
2018 HOT SELL motorcycle helmet § 35.10 1 piece $35.10 Awaiting Receipt AliExpress Standard Shipping
ie harley retro open face vintage helm Free Shipping
casco moto JET kask vespa casque Estimated Delivery Time: 23-23 Days

cafe racer pilot capacete

Processing Time: 4 Days
Color gm PU Crocodile skin g Tim :

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ore: Gasque de chevalier Store | =] Contact’Seller

Contact Name : Andy Penn

Address: 230 5. Clark St
Ste 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 6473451332
Tel: +1-
Fax:
oduct Details Price Per Unit Quantity Order Total

2018 HOT SELL motorcycle helmet
harley retro open face vintage helm
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Color gm PU Crocodile skin

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Size: L

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Product Status

Awaiting Receipt

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Options

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within 5-7 days after seller has sent out the package. You can also go ta HZEMS check the
tracking information.

View Delivery Detail

 
   
 

Status

Awaiting Receipt AliExpress Standard Shipping
Free Shipping
Estimated Delivery Time: 23-23 Days

Processing Time: 4 Days

Product Amount Shipping Cost Total Amoun

US 335.10 US 30.00 US 3-35.10

AliExpress Multi-Language Sites

   

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March 18, 2019

SS - $36.50
Payment
Paid with Seller info
VISA X-5176 PR
You'll see "PAYPAL *LINYVITE LINYITE” on your card statement.
Invoice ID
Ship to 120201101273519031800811023_99825623743493

Andy Penn

230 5. Clark St Purchase details

 

Ste 552 2018 HOT SELL motorcycle helmet harley $30,50
Chicago, IL 60604 retro open face vintage helm casco moto
Linited States JET kask vespa casque cafe racer pilot
capacete

Category Item #99825623743493
Auto Supplies
Transaction ID Total $36.50
O7196344609599735

Print details
Need help?
If there's a problem, make sure to contact the seller Report a problem

through PayPal by September 14, 2019. You may be
eligible for purchase protection.

HELP GONTACTUS SECURITY FEES FEEDBACK
Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 304 of 319 PagelD #:995

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|B Resolution Center - PayPal xt

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Multiple item - claim

Monday, March 18, 2019 Payment to Hh 536.50 USD

Which items do you need to contact us about?

Seller contact

AMS
() 99825623743493 - 2018 HOT SELL motorcycle helmet harley retro open face vintage ?60121454@qq.com
helm casco moto JET kask vespa casque cafe racer pilot capacete

© Didn't receive
O Not as described
What is the category of your purchase?

Oo Physical item
© Digital good / service

Compose message to Paypal

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Return to transaction

HELP CONTACT US SECURITY FEES

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Case: 1:19-cv-03547 Document #: 17-1 Filed: 06/05/19 Page 305 of 319 PagelD #:996

Champrint Store - Small Order

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Help O Save i

 

 

     

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Store Champrint Store 96.9% Positive feedback « FOLLOW 10 Followers
Detailed seller ratings (Qut of 5)

Item as Described 4.5 Below Average Gop T-SHIRT
“0 1 4,7 Above Average Of]

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40% OFF ALL ORDERS

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Want To Break Free T Shirt for Wen Queen Freddie Don't Stop Meow Cute T-Shirt Men's Queen Freddie Men's Iconic Queen T-Shirt Freddie Mercury Brian T-Shitt Game Of Thrones I
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US $9.90 4ssold G8 $10.80 id OS $9.90 l4scld GS $9.90

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Want To Break Free T Shirt for Men Queen Freddie Dorit Stop Meow Cute T-Shirt Men's Queen Freddie Men's Iconic Queen T-Shirt Freddie Mercury Brian T-Shitt Game Of Thrones I :
Mercury Rock Band Printed Clothes Graphic T-Shirts = Purtcurny Cat Fathers Day Gift Tees Crewneck Cotton Rock Band Crewneck Short Sleeve Clothes Pure Tytion Lanrister T Shirt fc
US $9.90 US $10.80 sci OS $9.90 US $9.90

   

 

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Glory Bounds Motorcycle USA Harley T Shirts Men Plus Size Tops Vintage
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Buyer Protection
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Product Details Feedback (0) Shipping & Payment Seller Guarantees Report iter

Champrint Store
Item specifics
96.994 Positive feedback
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Glory Bounds Motorcycle USS

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Product Details Feedback (0) Shipping & Payment Seller Guarantees

 

 

96.9% Positive feedback

Detailed seller ratings Brand Name: CHAMPRINT Sleeve Leneth(cm)) short
Style: Casual Viaterial Cotten

Visit Store Follow Collar, O-Neck Sleeve Style: Classic
Pattern Type: Print Hooded Na

Contact Seller Fabric Type: Broadcloth Sale by Pack: No

Place OF Origin: China (Mainland) Gender Men
[ten Type: Tops Tops Type: Tees
Color Black White Gray Beige Blue Green Red Yellow Pu... Size) SMLXLXXL XXXLAXL SXL GML [Plus Size]

This Seller's Categories
Other Service: Dropshipping wholesale
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-pameatihianes Product Description

- Dungeons and Dragons

- Call Of Cthulhu

- Gost in the shell
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- Goblin Slayer

- Money Heist - La...
- Kamala Harris CHAMPRINT IS A COLLECTION OF

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- Dragon Ball aa A Shoulder Width (cm) Chest Width(em) Body Length(em)
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~ Racing Attention ; This size is US size . Please allow 1-3 cm error due to manual measurement
-Khabib Nurmagomedoy If Your Measurements Fall In Between Sizes, Order The Larger Size.
- Beethoven
- Horror Manga
ate ITEM DETAILS
- Mona Lisa

- Battle Angel Alita
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+ Others

   

 

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From This Seller

    

US $9.90
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About Shipping
Please carefully check your order information(address/name/ post code/ phone number),as well as item's
color and size,

2)We will send the items within 1-5 working days once your payment is completed.
We will check every item before dispatching.

2/Every item is packaged with great care to avoid damage in transition.

About Return
We will refund you if you return the items within 14 days of your receipt of the items for any reason.

2/The buyer should make sure that the items they returned are in their original conditions.
3)The buyer should be responsible for the shipping fees to return the items,

About Feedback
1)Please leave positive feedback and 5 stars if you are satisfied with our items and services.

2)if you are not satisfied with preduct or service, please contact us to fix mistakes before leaving negative
feedback. We will do our best to salve any problem and provide you with the best customer service.

TT if satisfied ! ln

Shipping Speed

 

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Express > Order List > Order Detail

Place Order : pee eine Er

Order Number. 99826502396773

Status: The supplier is processing your order

Reminder. Your order will be automatically cancelled if the seller fail fo ship your order in a) Sdays t4hours 34minules.34seconds

Extend Processing Time

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Request Order Cancellation

Contact Seller

Contact Name: Clara Yang
Address: 2305. Clark St.
STE 552
Chicago, Illinois, United States
Zip Code: 60604
Mobile: 8473451332

Tf you wish to leave the seller a message or view the message history, simply click here.

Status

 

 

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AliExpress Standard Shipping

Free Shipping

Estimated Delivery Time: 23-23 Days
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AliExpress Multi-Language Sites

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March 18, 2019

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Payment

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Ship to Invoice ID
Clara Yang 720201101142819031800862038 99826502396773
230 5. Clark St.

STE 552 Purchase details

Chicago, IL 60604
United States

Glory Bounds Motorcycle USA Harley T $11.60
Shirts Men Plus Size Tops Vintage
T-Shirts © Neck Purified Cotton Tees

Category Item #99826502396773
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230 5. Clark St.

STE 552 Purchase details

Chicago, IL 60604
United States

Glory Bounds Motorcycle USA Harley T $11.60
Shirts Men Plus Size Tops Vintage
T-Shirts © Neck Purified Cotton Tees

Category Item #99826502396773
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Issued/Total: 44/200
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